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       PSJ4 SOL Opp Exh 26
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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

 IN RE NATIONAL PRESCRIPTION                                  MDL 2804
 OPIATE LITIGATION                                            Case No. 17-md-2804
 This document relates to:                                    Hon. Dan Aaron Polster
 Track One Cases

              PLAINTIFFS’ RESPONSES TO SUPPLEMENTAL INTERROGATORY
                   ISSUED IN DISCOVERY RULING 12 TO PLAINTIFFS

Supplemental Discovery Ruling 12 Interrogatory:

          For each National Retail Pharmacy Defendant and Distributor Defendant, identify 10 Suspicious Orders for
Prescription Opioids that you contend were shipped to Your geographic area during the Relevant Time Period. For each
order, identify the date the order was shipped, the manufacturer, name, and amount of the medication that was shipped,
the name of the defendant that shipped the order, and the name and location of the person or entity that placed the order.
Furthermore, explain in detail all criteria you used to identify these Suspicious Orders, including whether and why you
contend (i) any due diligence actually conducted was insufficient, and (ii) the order was so suspicious that there was no
amount of due diligence that could have removed every basis to suspect the customer was engaged in diversion.

Preliminary Objections and Legal Limitations

        1.      The bellwether Plaintiffs here renew and incorporate by reference their objections and
assertions of legal limitation set out in each Plaintiff’s Amended Responses and Objections to the
National Retail Pharmacy Defendants’ First Set of Interrogatories and Distributor Defendants’ Fourth
Set of Interrogatories to Plaintiffs, Reformulated Pharmacy Interrogatory No. 7 and Distributor
Interrogatory No. 23, served on October 31, 2018, specifically including the introductory paragraph
to those objections and assertions of legal limitation and paragraphs 1 – 11 (with related charts), which
the bellwether Plaintiffs also assert here.

         2.     The bellwether Plaintiffs have identified the suspicious orders identified in Exhibit A
hereto as suspicious based on the unusual size of the order(s), the unusual frequency of the order(s),
the variance of the order(s) from the usual pattern, and/or the shipment of the order(s) where the
recipient pharmacy or the prescribing physician’s license had been revoked, as further explained in in
Exhibit A. With regard to each identified order, either the order was so suspicious that no due
diligence could have removed every basis to suspect the customer was engaged in diversion and/or
Plaintiffs have been unable to identify sufficient due diligence conducted by the Defendant with
respect to that order, as further explained in in Exhibit A.

        3.      The bellwether Plaintiffs reserve the right to supplement this answer if, or when, the
Distributors fully and transparently respond to discovery. For the purposes of responding to this
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supplemental interrogatory, Plaintiffs have not attempted to identify every suspicious order, nor have
Plaintiffs applied every reasonable method for identifying suspicious orders.

        4.     The bellwether Plaintiffs reserve the right to supplement this answer if, or when the
Distributors disclose the system(s) the Distributors designed and operated sufficient to detect
suspicious orders using Distributors’ own metrics.

       5.      The bellwether Plaintiffs reserve the right to supplement this answer through expert
witnesses pursuant to the Scheduling Order entered by the Court.

       Subject to, and without waiving, those objections and assertions of legal limitation, the
bellwether Plaintiffs state as follows:

        ANSWER: In a good faith effort to meet their obligations and to comply with Discovery
Ruling 12, which directs that this supplemental interrogatory be responded to at this time, Plaintiffs
respond with the suspicious orders, and information regarding the same, as set out in the documents
attached hereto.

Dated: January 11, 2019

                                       Respectfully submitted:

                                       /s/ Peter J. Mougey
                                       Peter J. Mougey
                                       LEVIN, PAPANTONIO, THOMAS, MITCHELL,
                                           RAFFERTY & PROCTOR, P.A.
                                       316 S. Baylen Street, Suite 600
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                                       For the PEC

                                       Paul T. Farrell, Jr. (OH 0070257)
                                       GREEN KETCHUM FARRELL BAILEY & TWEEL,
                                       LLP
                                       419-11th Street (25701)
                                       PO Box 2389 Huntington, WV 25724-2389
                                       Phone: 800-479-0053 or 304-525-9115
                                       Fax: 304-529-3284
                                       paul@greeneketchum.com
                                       Co-Lead Plaintiffs’ Counsel
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was served via electronic mail upon
counsel of record in the National Prescription Opiates MDL via the list serves for Defendants and
Plaintiffs and on Special Master David Cohen this 11th day of January 2019.

                                              /s/ Peter J. Mougey
                                              Peter J. Mougey
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                  EXHIBIT A
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In March 2011 AmerisourceBergen's national average for monthly distribution per pharmacy for Oxycodone (9143) was 6,144 dosage units. In that same month AmerisourceBergen shipped 176,500
dosage units to The Fred W Albrecht Grocery Co dba ACME Pharmacy #30, 4302 Allen Rd Suite #110, Stow, Ohio, DEA #FT1696232. The orders identified below were all shipped after The
Fred W Albrecht Grocery Co dba ACME Pharmacy #30, 4302 Allen Rd Suite #110, Stow, Ohio, DEA #FT1696232 had already received dosage units in excess of three times the national average
from AmerisourceBergen.

  Suspicious                                               Base                                                                                                                      Cumulative Dosage Unit Total as
               Distributor   Name and Address of Buyer            NDC Code      Date      Product Name   Dosage Units         Labeler*           Review of Due Diligence File
  Order No.                                                Code                                                                                                                    Compared to ABDC Monthly Average
                             The Fred W Albrecht Grocery
                                                                                                                                                  Plaintiffs have been unable to
                                         Co.                                             OXYCODONE
                                                                                                                                                    identify any due diligence
      1          ABDC        d/b/a ACME Pharmacy #30       9143   591082501    3/28/11   HCL 30MG USP       2400         Par Pharmaceutical                                                     2549%
                                                                                                                                                conducted by AmerisourceBergen
                             4302 Allen Road Suite #110                                    TABLETS
                                                                                                                                                    with respect to this order.
                                   Stow, OH 44224
                             The Fred W Albrecht Grocery
                                                                                                                                                  Plaintiffs have been unable to
                                         Co.                                              OXYCODONE
                                                                                                                                                    identify any due diligence
      2          ABDC        d/b/a ACME Pharmacy #30       9143   406052201    3/29/11     HCI 10MG          300          KVK-Tech, Inc.                                                        2554%
                                                                                                                                                conducted by AmerisourceBergen
                             4302 Allen Road Suite #110                                   TABLETS USP
                                                                                                                                                    with respect to this order.
                                   Stow, OH 44224
                             The Fred W Albrecht Grocery
                                                                                          OXYCODONE                                               Plaintiffs have been unable to
                                         Co.
                                                                                         HYDROCHLORI                                                identify any due diligence
      3          ABDC        d/b/a ACME Pharmacy #30       9143   406051201    3/29/11                      4800            SpecGx LLC                                                          2632%
                                                                                           DE 15MG                                              conducted by AmerisourceBergen
                             4302 Allen Road Suite #110
                                                                                           TABLETS                                                  with respect to this order.
                                   Stow, OH 44224
                             The Fred W Albrecht Grocery
                                                                                          OXYCODONE                                               Plaintiffs have been unable to
                                         Co.
                                                                                         HYDROCHLORI                                                identify any due diligence
      4          ABDC        d/b/a ACME Pharmacy #30       9143   603499221    3/29/11                      2400            SpecGx LLC                                                          2671%
                                                                                           DE 15MG                                              conducted by AmerisourceBergen
                             4302 Allen Road Suite #110
                                                                                           TABLETS                                                  with respect to this order.
                                   Stow, OH 44224
                             The Fred W Albrecht Grocery
                                                                                          OXYCODONE                                               Plaintiffs have been unable to
                                         Co.
                                                                                         HYDROCHLORI                    Teva Pharmaceuticals        identify any due diligence
      5          ABDC        d/b/a ACME Pharmacy #30       9143   406052301    3/29/11                       200                                                                                2674%
                                                                                              DE                             USA, Inc.          conducted by AmerisourceBergen
                             4302 Allen Road Suite #110
                                                                                         5MG/ACETAMIN                                               with respect to this order.
                                   Stow, OH 44224
                             The Fred W Albrecht Grocery
                                                                                          OXYCODONE                                               Plaintiffs have been unable to
                                         Co.
                                                                                         HYDROCHLORI                                                identify any due diligence
      6          ABDC        d/b/a ACME Pharmacy #30       9143   555065802    3/31/11                      2400            SpecGx LLC                                                          2713%
                                                                                          DE TABLETS                                            conducted by AmerisourceBergen
                             4302 Allen Road Suite #110
                                                                                              5MG                                                   with respect to this order.
                                   Stow, OH 44224
                             The Fred W Albrecht Grocery
                                                                                           PERCOCET                                               Plaintiffs have been unable to
                                         Co.
                                                                                            TABLETS                     Endo Pharmaceuticals,       identify any due diligence
      7          ABDC        d/b/a ACME Pharmacy #30       9143   406052301    3/31/11                       200                                                                                2716%
                                                                                          OXYCODONE                             Inc.            conducted by AmerisourceBergen
                             4302 Allen Road Suite #110
                                                                                           HCL 7.5MG                                                with respect to this order.
                                   Stow, OH 44224




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Suspicious                                               Base                                                                                                            Cumulative Dosage Unit Total as
             Distributor   Name and Address of Buyer            NDC Code      Date      Product Name    Dosage Units    Labeler*     Review of Due Diligence File
Order No.                                                Code                                                                                                          Compared to ABDC Monthly Average
                           The Fred W Albrecht Grocery
                                                                                        OXYCODONE                                     Plaintiffs have been unable to
                                       Co.
                                                                                       HCL/ACETAMIN                                     identify any due diligence
    8          ABDC        d/b/a ACME Pharmacy #30       9143   406052301    3/31/11                       2200        SpecGx LLC                                                   2752%
                                                                                          OPHEN                                     conducted by AmerisourceBergen
                           4302 Allen Road Suite #110
                                                                                         10MG/325                                       with respect to this order.
                                 Stow, OH 44224
                           The Fred W Albrecht Grocery
                                                                                        OXYCODONE                                     Plaintiffs have been unable to
                                       Co.
                                                                                       HCL/ACETAMIN                                     identify any due diligence
    9          ABDC        d/b/a ACME Pharmacy #30       9143   406851501    3/31/11                       5000        SpecGx LLC                                                   2834%
                                                                                          OPHEN                                     conducted by AmerisourceBergen
                           4302 Allen Road Suite #110
                                                                                         10MG/325                                       with respect to this order.
                                 Stow, OH 44224
                           The Fred W Albrecht Grocery
                                                                                                                                      Plaintiffs have been unable to
                                       Co.                                              OXYCODONE
                                                                                                                                        identify any due diligence
   10          ABDC        d/b/a ACME Pharmacy #30       9143   406052301    3/31/11   HCL/ACETAMIN        2400        SpecGx LLC                                                   2873%
                                                                                                                                    conducted by AmerisourceBergen
                           4302 Allen Road Suite #110                                  OPHEN 7.5MG/32
                                                                                                                                        with respect to this order.
                                 Stow, OH 44224




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In January 2014 Anda Inc.'s national average for monthly distribution per pharmacy for Oxycodone (9143) was 2,521 dosage units. In that same month, Anda Inc. shipped 91,700 dosage units to
Remedi Seniorcare Of Ohio-Northeast, LLC, 26251 Bluestone Blvd., Suite #1, Euclid, OH 44132, DEA # FR3437856. The January 2014 orders identified below were all shipped after Remedi
Seniorcare Of Ohio-Northeast, LLC, 26251 Bluestone Blvd., Suite #1, Euclid, OH 44132, DEA # FR3437856 had already received dosage units in excess of three times the national average from Anda
Inc.

In April 2014 Anda Inc.'s national average for monthly distribution per pharmacy for Oxycodone (9143) was 3,199 dosage units. In that same month, Anda Inc. shipped 87,700 dosage units to Remedi
Seniorcare Of Ohio-Northeast, LLC, 26251 Bluestone Blvd., Suite #1, Euclid, OH 44132, DEA # FR3437856. The January 2014 orders identified below were all shipped after Remedi Seniorcare Of
Ohio-Northeast, LLC, 26251 Bluestone Blvd., Suite #1, Euclid, OH 44132, DEA # FR3437856 had already received dosage units in excess of three times the national average from Anda Inc.

  Suspicious                                                   Base                                                                                                                         Cumulative Dosage Unit Total as
               Distributor    Name and Address of Buyer               NDC Code        Date       Product Name    Dosage Units         Labeler*          Review of Due Diligence File
  Order No.                                                    Code                                                                                                                       Compared to ANDA Monthly Average

                              Remedi Seniorcare Of Ohio-
                                                                                                                                                        Plaintiffs have been unable to
                                    Northeast, LLC                                               OXYCODONE
                                                                                                                                                          identify any due diligence
      1        Anda, Inc     26251 Bluestone Blvd., Suite #1   9143   406052301     1/8/2014    HCL/ACETAMIN        4400           SpecGx LLC                                                          3109%
                                                                                                                                                      conducted by Anda with respect to
                                   Euclid, OH 44132                                             OPHEN 10MG/325                                                     this order.
                                  DEA # FR3437856

                              Remedi Seniorcare Of Ohio-
                                                                                                 OXYCODONE                                              Plaintiffs have been unable to
                                    Northeast, LLC
                                                                                                HCL/ACETAMIN                                              identify any due diligence
      2        Anda, Inc     26251 Bluestone Blvd., Suite #1   9143   406051205     1/8/2014                        2500           SpecGx LLC                                                          3208%
                                                                                                   OPHEN                                              conducted by Anda with respect to
                                   Euclid, OH 44132
                                                                                                  5MG/325M                                                         this order.
                                  DEA # FR3437856

                              Remedi Seniorcare Of Ohio-
                                                                                                 OXYCODONE                                              Plaintiffs have been unable to
                                    Northeast, LLC
                                                                                                HCL/ACETAMIN                                              identify any due diligence
      3        Anda, Inc     26251 Bluestone Blvd., Suite #1   9143   406051205     1/8/2014                        1000           SpecGx LLC                                                          3248%
                                                                                                   OPHEN                                              conducted by Anda with respect to
                                   Euclid, OH 44132
                                                                                                  5MG/325M                                                         this order.
                                  DEA # FR3437856

                              Remedi Seniorcare Of Ohio-
                                                                                                                                                      Plaintiffs have been unable to
                                    Northeast, LLC                                               OXYCODONE
                                                                                                                                                        identify any due diligence
      4        Anda, Inc     26251 Bluestone Blvd., Suite #1   9143   13107005501   1/21/2014    HCL 5MG USP        4800        Aurolife Pharma LLC                                                    3438%
                                                                                                                                                    conducted by Anda with respect to
                                   Euclid, OH 44132                                               TABLETS                                                        this order.
                                  DEA # FR3437856

                              Remedi Seniorcare Of Ohio-
                                                                                                 OXYCODONE                                              Plaintiffs have been unable to
                                    Northeast, LLC
                                                                                                HCL/ACETAMIN                                              identify any due diligence
      5        Anda, Inc     26251 Bluestone Blvd., Suite #1   9143    406051205    1/21/2014                       5000           SpecGx LLC                                                          3636%
                                                                                                   OPHEN                                              conducted by Anda with respect to
                                   Euclid, OH 44132
                                                                                                  5MG/325M                                                         this order.
                                  DEA # FR3437856




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                  Remedi Seniorcare Of Ohio-
                                                                                     OXYCODONE                                       Plaintiffs have been unable to
                        Northeast, LLC
                                                                                    HCL/ACETAMIN                                       identify any due diligence
6    Anda, Inc   26251 Bluestone Blvd., Suite #1   9143   406051205     4/3/2014                     35000      SpecGx LLC                                             1616%
                                                                                       OPHEN                                       conducted by Anda with respect to
                       Euclid, OH 44132
                                                                                      5MG/325M                                                  this order.
                      DEA # FR3437856

                  Remedi Seniorcare Of Ohio-
                                                                                                                                     Plaintiffs have been unable to
                        Northeast, LLC                                               OXYCODONE
                                                                                                                                       identify any due diligence
7    Anda, Inc   26251 Bluestone Blvd., Suite #1   9143   406052301     4/24/2014   HCL/ACETAMIN      600       SpecGx LLC                                             1635%
                                                                                                                                   conducted by Anda with respect to
                       Euclid, OH 44132                                             OPHEN 10MG/325                                              this order.
                      DEA # FR3437856

                  Remedi Seniorcare Of Ohio-
                                                                                                                                     Plaintiffs have been unable to
                        Northeast, LLC                                               OXYCODONE
                                                                                                                                       identify any due diligence
8    Anda, Inc   26251 Bluestone Blvd., Suite #1   9143   406052301     4/24/2014   HCL/ACETAMIN      400       SpecGx LLC                                             1647%
                                                                                                                                   conducted by Anda with respect to
                       Euclid, OH 44132                                             OPHEN 10MG/325                                              this order.
                      DEA # FR3437856

                  Remedi Seniorcare Of Ohio-
                                                                                                                                   Plaintiffs have been unable to
                        Northeast, LLC                                               OXYCODONE
                                                                                                                                     identify any due diligence
9    Anda, Inc   26251 Bluestone Blvd., Suite #1   9143   13107005501   4/24/2014    HCL 5MG USP     10000   Aurolife Pharma LLC                                       1960%
                                                                                                                                 conducted by Anda with respect to
                       Euclid, OH 44132                                               TABLETS                                                 this order.
                      DEA # FR3437856

                  Remedi Seniorcare Of Ohio-
                                                                                     OXYCODONE                                       Plaintiffs have been unable to
                        Northeast, LLC
                                                                                    HCL/ACETAMIN                                       identify any due diligence
10   Anda, Inc   26251 Bluestone Blvd., Suite #1   9143    406051205    4/24/2014                    25000      SpecGx LLC                                             2741%
                                                                                       OPHEN                                       conducted by Anda with respect to
                       Euclid, OH 44132
                                                                                      5MG/325M                                                  this order.
                      DEA # FR3437856




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In October 2009 Cardinal Health's national average for monthly distribution per pharmacy for Oxycodone (9143) was 4,775 dosage units. In that same month Cardinal Health shipped 143,200
dosage units to New Choice Pharmacy, 1900 23rd Street, Cuyahoga Falls, Ohio, DEA # FN1432854. The orders identified below were all shipped after New Choice Pharmacy, 1900 23rd Street,
Cuyahoga Falls, Ohio, DEA # FN1432854 had already received dosage units in excess of three times the national average from Cardinal Health.

  Suspicious                                                    Base                                                                                                                             Cumulative Dosage Unit Total as
                 Distributor      Name and Address of Buyer             NDC Code         Date       Product Name    Dosage Units         Labeler*            Review of Due Diligence File
  Order No.                                                     Code                                                                                                                           Compared to Cardinal Monthly Average

                                  New Choice Pharmacy,                                              OXYCODONE                                                Plaintiffs have been unable to
                                                                                                                                        Glenmark
                                     900 23rd Street,                                              HYDROCHLORI                                                 identify any due diligence
      1        Cardinal Health                                  9143   68462020401      10/30/09                       1200        Pharmaceuticals Inc.,                                                     2773%
                               Cuyahoga Falls, Ohio, DEA #                                            DE 5MG                                               conducted by Cardinal Health with
                                                                                                                                          USA
                                       FN1432854                                                     CAPSULE                                                      respect to this order.
                                    New Choice Pharmacy,                                               PERCOCET                                              Plaintiffs have been unable to
                                       900 23rd Street,                                             (OXYCODONE                     Endo Pharmaceuticals,       identify any due diligence
      2        Cardinal Health                                  9143   63481062370      10/30/09                        200                                                                                  2777%
                                 Cuyahoga Falls, Ohio, DEA #                                         HCL/ACETA)                            Inc.            conducted by Cardinal Health with
                                         FN1432854                                                       5MG/3                                                    respect to this order.
                                    New Choice Pharmacy,                                             OXYCODONE                                               Plaintiffs have been unable to
                                       900 23rd Street,                                            HYDROCHLORI                                                 identify any due diligence
      3        Cardinal Health                                  9143    406055201       10/30/09                       1200            SpecGx LLC                                                            2802%
                                 Cuyahoga Falls, Ohio, DEA #                                         DE TABLETS                                            conducted by Cardinal Health with
                                         FN1432854                                                        5MG                                                     respect to this order.
                                    New Choice Pharmacy,                                           ENDOCET TABS -                                            Plaintiffs have been unable to
                                       900 23rd Street,                                                  10MG                                                  identify any due diligence
      4        Cardinal Health                                  9143   60951079770      10/30/09                        200         Par Pharmaceutical                                                       2806%
                                 Cuyahoga Falls, Ohio, DEA #                                       OXYCODONE.H                                             conducted by Cardinal Health with
                                         FN1432854                                                        CL &                                                    respect to this order.
                                    New Choice Pharmacy,                                               ENDOCET                                               Plaintiffs have been unable to
                                       900 23rd Street,                                               OXYCODO                                                  identify any due diligence
      5        Cardinal Health                                  9143   60951060285      10/30/09                        500         Par Pharmaceutical                                                       2817%
                                 Cuyahoga Falls, Ohio, DEA #                                         HCL5MG&AC                                             conducted by Cardinal Health with
                                         FN1432854                                                        TAB                                                     respect to this order.
                                    New Choice Pharmacy,                                             OXYCODONE                                               Plaintiffs have been unable to
                                       900 23rd Street,                                            HCL/ACETAMIN                                                identify any due diligence
      6        Cardinal Health                                  9143    406051205       10/30/09                       3000            SpecGx LLC                                                            2880%
                                 Cuyahoga Falls, Ohio, DEA #                                            OPHEN                                              conducted by Cardinal Health with
                                         FN1432854                                                     5MG/325M                                                   respect to this order.
                                    New Choice Pharmacy,                                               ENDOCET                                               Plaintiffs have been unable to
                                       900 23rd Street,                                               TABS;7.5MG                                               identify any due diligence
      7        Cardinal Health                                  9143   60951079670      10/30/09                        300         Par Pharmaceutical                                                       2886%
                                 Cuyahoga Falls, Ohio, DEA #                                       OXYCODONE.H                                             conducted by Cardinal Health with
                                         FN1432854                                                       CL & 5                                                   respect to this order.
                                    New Choice Pharmacy,                                              ENDOCET -                                              Plaintiffs have been unable to
                                       900 23rd Street,                                                  10MG                                                  identify any due diligence
      8        Cardinal Health                                  9143   60951071270      10/30/09                       3600         Par Pharmaceutical                                                       2961%
                                 Cuyahoga Falls, Ohio, DEA #                                       OXYCODONE.H                                             conducted by Cardinal Health with
                                         FN1432854                                                    CL/325MG A                                                  respect to this order.




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Suspicious                                                  Base                                                                                                                         Cumulative Dosage Unit Total as
               Distributor    Name and Address of Buyer             NDC Code         Date       Product Name   Dosage Units       Labeler*           Review of Due Diligence File
Order No.                                                   Code                                                                                                                       Compared to Cardinal Monthly Average

                                New Choice Pharmacy,                                                                                                 Plaintiffs have been unable to
                                                                                               OXYCODONE
                                   900 23rd Street,                                                                                                    identify any due diligence
    9        Cardinal Health                                9143    603499121       10/30/09   HCL 15MG USP       1200        Par Pharmaceutical                                                     2986%
                             Cuyahoga Falls, Ohio, DEA #                                                                                           conducted by Cardinal Health with
                                                                                                 TABLETS
                                     FN1432854                                                                                                            respect to this order.
                                New Choice Pharmacy,                                             ENDOCET -                                           Plaintiffs have been unable to
                                   900 23rd Street,                                                7.5MG                                               identify any due diligence
   10        Cardinal Health                                9143   60951070070      10/30/09                       600        Par Pharmaceutical                                                     2999%
                             Cuyahoga Falls, Ohio, DEA #                                       OXYCODONE.H                                         conducted by Cardinal Health with
                                     FN1432854                                                   CL/325MG                                                 respect to this order.




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In December 2009 CVS INDIANA's national average for monthly distribution per pharmacy for Hydrocodone (9193) was 13,420 dosage units. In that same month CVS INDIANA shipped 50,800
dosage units to Ohio CVS Stores, L.L.C. dba: CVS/Pharmacy # 04800, 590 East Market Street, Akron, Ohio, DEA #RH0197170. The orders identified below were all shipped after Ohio CVS
Stores, L.L.C. dba: CVS/Pharmacy # 04800, 590 East Market Street, Akron, Ohio, DEA #RH0197170 had already received dosage units in excess of three times the national average from CVS
INDIANA.
  Suspicious                                                 Base                                                                                                                          Cumulative Dosage Unit Total as
                 Distributor   Name and Address of Buyer              NDC Code        Date        Product Name   Dosage Units        Labeler*           Review of Due Diligence File
  Order No.                                                  Code                                                                                                                         Compared to CVS Monthly Average
                             Ohio CVS Stores, L.L.C.
                                                                                                                                                         Plaintiffs have been unable to
                           dba: CVS/Pharmacy # 04800                                            HYDROCODONE
                                                                                                                                                           identify any due diligence
      1        CVS INDIANA 590 East Market Street, Akron,    9193    62037052401     12/19/09   .BITARTRATE/IB       100        Actavis Pharma, Inc.                                                   330%
                                                                                                                                                       conducted by CVS with respect to
                                       Ohio                                                       UPROFEN 7.5
                                                                                                                                                                    this order.
                                DEA #RH0197170
                             Ohio CVS Stores, L.L.C.
                                                                                                HYDROCOD.BIT.                                            Plaintiffs have been unable to
                           dba: CVS/Pharmacy # 04800
                                                                                                      &                                                    identify any due diligence
      2        CVS INDIANA 590 East Market Street, Akron,    9193     406036201      12/24/09                        500           SpecGx LLC                                                          334%
                                                                                                APAP,10MG/660                                          conducted by CVS with respect to
                                       Ohio
                                                                                                   MG/TAB                                                           this order.
                                DEA #RH0197170
                             Ohio CVS Stores, L.L.C.
                                                                                                HYDROCODO.BI                                             Plaintiffs have been unable to
                           dba: CVS/Pharmacy # 04800
                                                                                                    T/APAP                                                 identify any due diligence
      3        CVS INDIANA 590 East Market Street, Akron,    9193     406036005      12/24/09                       1000           SpecGx LLC                                                          341%
                                                                                                 7.5MG/750MG                                           conducted by CVS with respect to
                                       Ohio
                                                                                                     USP T                                                          this order.
                                DEA #RH0197170
                             Ohio CVS Stores, L.L.C.
                                                                                                                                                         Plaintiffs have been unable to
                           dba: CVS/Pharmacy # 04800                                            HYDROCODONE
                                                                                                                                                           identify any due diligence
      4        CVS INDIANA 590 East Market Street, Akron,    9193    62037052401     12/24/09   .BITARTRATE/IB       100        Actavis Pharma, Inc.                                                   342%
                                                                                                                                                       conducted by CVS with respect to
                                       Ohio                                                       UPROFEN 7.5
                                                                                                                                                                    this order.
                                DEA #RH0197170
                             Ohio CVS Stores, L.L.C.
                                                                                                                                                         Plaintiffs have been unable to
                           dba: CVS/Pharmacy # 04800                                            HYDROCODONE
                                                                                                                                                           identify any due diligence
      5        CVS INDIANA 590 East Market Street, Akron,    9193     406036601      12/24/09      BIT/ACETA         100           SpecGx LLC                                                          343%
                                                                                                                                                       conducted by CVS with respect to
                                       Ohio                                                     7.5MG/325MG US
                                                                                                                                                                    this order.
                                DEA #RH0197170
                             Ohio CVS Stores, L.L.C.
                                                                                                HYDROCODO.BI                                             Plaintiffs have been unable to
                           dba: CVS/Pharmacy # 04800
                                                                                                    T/APAP                                                 identify any due diligence
      6        CVS INDIANA 590 East Market Street, Akron,    9193     406036005      12/31/09                       2000           SpecGx LLC                                                          358%
                                                                                                 7.5MG/750MG                                           conducted by CVS with respect to
                                       Ohio
                                                                                                     USP T                                                          this order.
                                DEA #RH0197170




                                                                                                                                                                                                                  Page 7
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Suspicious                                                 Base                                                                                                                         Cumulative Dosage Unit Total as
               Distributor   Name and Address of Buyer             NDC Code         Date        Product Name    Dosage Units       Labeler*          Review of Due Diligence File
Order No.                                                  Code                                                                                                                        Compared to CVS Monthly Average
                           Ohio CVS Stores, L.L.C.
                                                                                                                                                      Plaintiffs have been unable to
                         dba: CVS/Pharmacy # 04800                                            HYDROCODONE
                                                                                                                                                        identify any due diligence
    7        CVS INDIANA 590 East Market Street, Akron,    9193    603388728       12/31/09   .BIT./ACET.,10M      1000        Par Pharmaceutical                                                   365%
                                                                                                                                                    conducted by CVS with respect to
                                     Ohio                                                       G & 325MG/
                                                                                                                                                                 this order.
                              DEA #RH0197170
                           Ohio CVS Stores, L.L.C.
                                                                                                                                                      Plaintiffs have been unable to
                         dba: CVS/Pharmacy # 04800                                            HYDROCODO.BI
                                                                                                                                                        identify any due diligence
    8        CVS INDIANA 590 East Market Street, Akron,    9193    406036101       12/31/09   T 10MG&AC USP         200          SpecGx LLC                                                         367%
                                                                                                                                                    conducted by CVS with respect to
                                     Ohio                                                          TAB
                                                                                                                                                                 this order.
                              DEA #RH0197170
                           Ohio CVS Stores, L.L.C.
                                                                                                                                                      Plaintiffs have been unable to
                         dba: CVS/Pharmacy # 04800                                            HYDROCODONE
                                                                                                                                                        identify any due diligence
    9        CVS INDIANA 590 East Market Street, Akron,    9193    406035705       12/31/09   BIT/ACETAMINO        1500          SpecGx LLC                                                         378%
                                                                                                                                                    conducted by CVS with respect to
                                     Ohio                                                      PHEN 5MG/50
                                                                                                                                                                 this order.
                              DEA #RH0197170
                           Ohio CVS Stores, L.L.C.
                                                                                                                                                      Plaintiffs have been unable to
                         dba: CVS/Pharmacy # 04800                                            HYDROCODONE
                                                                                                                                                        identify any due diligence
   10        CVS INDIANA 590 East Market Street, Akron,    9193    406036601       12/31/09      BIT/ACETA          100          SpecGx LLC                                                         379%
                                                                                                                                                    conducted by CVS with respect to
                                     Ohio                                                     7.5MG/325MG US
                                                                                                                                                                 this order.
                              DEA #RH0197170




                                                                                                                                                                                                               Page 8
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In January 2012 HBC Service Company's national average for monthly distribution per pharmacy for Hydrocodone (9193) was 13,553 dosage units. In that same month, HBC Service Company shipped
42,700 dosage units to Giant Eagle Pharmacy #4031, 41 5th Street SE, Barberton, Oh 44203, DEA # BG7042891. The orders identified below were all shipped after Giant Eagle Pharmacy #4031, 41
5th Street SE, Barberton, Oh 44203, DEA # BG7042891 had already received dosage units in excess of three times the national average from HBC Service Co.


                                                                                                                                                                                            Cumulative Dosage Unit Total as
  Suspicious                                                  Base
               Distributor    Name and Address of Buyer               NDC Code      Date         Product Name     Dosage Units          Labeler*         Review of Due Diligence File     Compared to HBC Service Co. Monthly
  Order No.                                                   Code
                                                                                                                                                                                                       Average


                              Giant Eagle Pharmacy #4031                                                                                                 Plaintiffs have been unable to
                                                                                             HYDROCODONE.BIT.
               HBC Service   41 5th Street SE, Barberton OH                                                                                              identify any due diligence
      1                                                       9193    603388128    1/29/12    & ACETA 5MG &           500          Par Pharmaceutical                                                   319%
                Company                   44203                                                                                                          conducted by HBC Service Co.
                                                                                                   500M
                                  DEA # BG7042891                                                                                                        with respect to this order.


                              Giant Eagle Pharmacy #4031                                                                                                 Plaintiffs have been unable to
                                                                                              HYDROCODONE
               HBC Service   41 5th Street SE, Barberton OH                                                                                              identify any due diligence
      2                                                       9193    406036701    1/30/12       BIT/ACETA            300             SpecGx LLC                                                        321%
                Company                   44203                                                                                                          conducted by HBC Service Co.
                                                                                              10MG/325MG USP
                                  DEA # BG7042891                                                                                                        with respect to this order.


                              Giant Eagle Pharmacy #4031                                                                                                Plaintiffs have been unable to
                                                                                              HYDROCODONE
               HBC Service   41 5th Street SE, Barberton OH                                                                      Hi-Tech Pharmacal Co., identify any due diligence
      3                                                       9193   50383004316   1/30/12   BIT/HOMATROPINE          NA                                                                                321%
                Company                   44203                                                                                           Inc.          conducted by HBC Service Co.
                                                                                                 METHYLBR
                                  DEA # BG7042891                                                                                                       with respect to this order.


                              Giant Eagle Pharmacy #4031                                                                                                 Plaintiffs have been unable to
                                                                                             HYDROCODO.BIT/AP
               HBC Service   41 5th Street SE, Barberton OH                                                                                              identify any due diligence
      4                                                       9193    406036005    1/30/12   AP 7.5MG/750MG USP       500             SpecGx LLC                                                        325%
                Company                   44203                                                                                                          conducted by HBC Service Co.
                                                                                                      T
                                  DEA # BG7042891                                                                                                        with respect to this order.


                              Giant Eagle Pharmacy #4031                                                                                                 Plaintiffs have been unable to
                                                                                             HYDROCODONE.BIT.
               HBC Service   41 5th Street SE, Barberton OH                                                                                              identify any due diligence
      5                                                       9193    603388128    1/30/12    & ACETA 5MG &          1500          Par Pharmaceutical                                                   336%
                Company                   44203                                                                                                          conducted by HBC Service Co.
                                                                                                   500M
                                  DEA # BG7042891                                                                                                        with respect to this order.


                              Giant Eagle Pharmacy #4031                                                                                                 Plaintiffs have been unable to
                                                                                               HYDROCODONE
               HBC Service   41 5th Street SE, Barberton OH                                                                                              identify any due diligence
      6                                                       9193    603389021    1/30/12      BITARTRATE            100          Par Pharmaceutical                                                   336%
                Company                   44203                                                                                                          conducted by HBC Service Co.
                                                                                              5MG/ACETAMINO
                                  DEA # BG7042891                                                                                                        with respect to this order.


                              Giant Eagle Pharmacy #4031                                                                                                 Plaintiffs have been unable to
                                                                                               HYDROCODONE
               HBC Service   41 5th Street SE, Barberton OH                                                                                              identify any due diligence
      7                                                       9193    603389021    1/31/12      BITARTRATE            100          Par Pharmaceutical                                                   337%
                Company                   44203                                                                                                          conducted by HBC Service Co.
                                                                                              5MG/ACETAMINO
                                  DEA # BG7042891                                                                                                        with respect to this order.




                                                                                                                                                                                                                                Page 9
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                                                                                                                                                                                     Cumulative Dosage Unit Total as
Suspicious                                                  Base
             Distributor    Name and Address of Buyer              NDC Code     Date         Product Name     Dosage Units       Labeler*         Review of Due Diligence File     Compared to HBC Service Co. Monthly
Order No.                                                   Code
                                                                                                                                                                                                Average


                            Giant Eagle Pharmacy #4031                                                                                            Plaintiffs have been unable to
                                                                                         HYDROCODO.BIT/AP
             HBC Service   41 5th Street SE, Barberton OH                                                                                         identify any due diligence
    8                                                       9193   406036005   1/31/12   AP 7.5MG/750MG USP       500          SpecGx LLC                                                        341%
              Company                   44203                                                                                                     conducted by HBC Service Co.
                                                                                                  T
                                DEA # BG7042891                                                                                                   with respect to this order.


                            Giant Eagle Pharmacy #4031                                                                                            Plaintiffs have been unable to
                                                                                         HYDROCODONE.BIT.
             HBC Service   41 5th Street SE, Barberton OH                                                                                         identify any due diligence
    9                                                       9193   603388128   1/31/12    & ACETA 5MG &          1000        Par Pharmaceutical                                                  348%
              Company                   44203                                                                                                     conducted by HBC Service Co.
                                                                                               500M
                                DEA # BG7042891                                                                                                   with respect to this order.


                            Giant Eagle Pharmacy #4031                                                                                            Plaintiffs have been unable to
                                                                                           HYDROCODONE
             HBC Service   41 5th Street SE, Barberton OH                                                                                         identify any due diligence
   10                                                       9193   603389121   1/31/12   BITARTRATE/ACETA         100        Par Pharmaceutical                                                  349%
              Company                   44203                                                                                                     conducted by HBC Service Co.
                                                                                              7.5MG/3
                                DEA # BG7042891                                                                                                   with respect to this order.




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In December 2014 H.D. Smith’s national average for monthly distribution per pharmacy for Hydrocodone (9193) was 4,939 dosage units. In that same month, H.D.
Smith shipped 26,500 dosage units to The Medical Service Company, 24000 Broadway Ave, Oakwood Village, OH 44146, DEA # AT723202. The December 2014 orders identified below were all
shipped after The Medical Service Company, 24000 Broadway Ave, Oakwood Village, OH 44146, DEA # AT723202 had already received dosage units in excess of three times the national average
from H.D. Smith.

                                                                                                                                                                                  Cumulative Dosage Unit Total as
  Suspicious                                                 Base
               Distributor    Name and Address of Buyer               NDC Code        Date        Product Name   Dosage Units      Labeler*      Review of Due Diligence File     Compared to H.D. Smith Monthly
  Order No.                                                  Code
                                                                                                                                                                                             Average

                             The Medical Service Company,                                                                                        Plaintiffs have been unable to
                                                                                                 OXYCODONE
                                 24000 Broadway Ave,                                                                                               identify any due diligence
      1        H. D. Smith                                   9143    10702005601     12/26/14     HCI 10MG          1000        KVK-Tech, Inc.                                                395%
                             Oakwood Village, OH 44146,                                                                                          conducted by H.D. Smith with
                                                                                                 TABLETS USP
                                  DEA # AT723202                                                                                                      respect to this order.
                             The Medical Service Company,                                        OXYCODONE                                       Plaintiffs have been unable to
                                 24000 Broadway Ave,                                            HYDROCHLORI                                        identify any due diligence
      2        H. D. Smith                                   9143     406853001      12/30/14                        500         SpecGx LLC                                                   405%
                             Oakwood Village, OH 44146,                                           DE 30MG                                        conducted by H.D. Smith with
                                  DEA # AT723202                                                   TABLET                                             respect to this order.
                             The Medical Service Company,                                        OXYCODONE                                       Plaintiffs have been unable to
                                 24000 Broadway Ave,                                            HYDROCHLORI                                        identify any due diligence
      3        H. D. Smith                                   9143     406055201      12/30/14                       1000         SpecGx LLC                                                   425%
                             Oakwood Village, OH 44146,                                          DE TABLETS                                      conducted by H.D. Smith with
                                  DEA # AT723202                                                     5MG                                              respect to this order.
                             The Medical Service Company,                                                                                        Plaintiffs have been unable to
                                                                                                 OXYCODONE
                                 24000 Broadway Ave,                                                                                               identify any due diligence
      4        H. D. Smith                                   9143     406052201      12/30/14   HCL/ACETAMIN         500         SpecGx LLC                                                   435%
                             Oakwood Village, OH 44146,                                                                                          conducted by H.D. Smith with
                                                                                                OPHEN 7.5MG/32
                                  DEA # AT723202                                                                                                      respect to this order.
                             The Medical Service Company,                                                                                        Plaintiffs have been unable to
                                                                                                 OXYCODONE
                                 24000 Broadway Ave,                                                                                               identify any due diligence
      5        H. D. Smith                                   9143     406052201      12/30/14   HCL/ACETAMIN         400         SpecGx LLC                                                   443%
                             Oakwood Village, OH 44146,                                                                                          conducted by H.D. Smith with
                                                                                                OPHEN 7.5MG/32
                                  DEA # AT723202                                                                                                      respect to this order.
                             The Medical Service Company,                                                                                        Plaintiffs have been unable to
                                                                                                 OXYCODONE
                                 24000 Broadway Ave,                                                                                               identify any due diligence
      6        H. D. Smith                                   9143    47781022901     12/30/14   HCL/ACETAMIN         600         Alvogen, Inc.                                                456%
                             Oakwood Village, OH 44146,                                                                                          conducted by H.D. Smith with
                                                                                                OPHEN 7.5MG/32
                                  DEA # AT723202                                                                                                      respect to this order.
                             The Medical Service Company,                                        OXYCODONE                                       Plaintiffs have been unable to
                                 24000 Broadway Ave,                                            HCL/ACETAMIN                                       identify any due diligence
      7        H. D. Smith                                   9143     406051205      12/30/14                       2000         SpecGx LLC                                                   496%
                             Oakwood Village, OH 44146,                                            OPHEN                                         conducted by H.D. Smith with
                                  DEA # AT723202                                                  5MG/325M                                            respect to this order.




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                                                                                                                                                                                    Cumulative Dosage Unit Total as
Suspicious                                                 Base
             Distributor    Name and Address of Buyer               NDC Code        Date        Product Name   Dosage Units        Labeler*        Review of Due Diligence File     Compared to H.D. Smith Monthly
Order No.                                                  Code
                                                                                                                                                                                               Average

                           The Medical Service Company,                                        OXYCONTIN                                           Plaintiffs have been unable to
                               24000 Broadway Ave,                                                20MG                                               identify any due diligence
    8        H. D. Smith                                   9143    59011042010     12/30/14                        500        Purdue Pharma LP                                                  506%
                           Oakwood Village, OH 44146,                                          OXYCODONE                                           conducted by H.D. Smith with
                                DEA # AT723202                                                 HCL CR TABL                                              respect to this order.
                           The Medical Service Company,                                                                                            Plaintiffs have been unable to
                                                                                               OXYCODONE
                               24000 Broadway Ave,                                                                            Sun Pharmaceutical     identify any due diligence
    9        H. D. Smith                                   9143    57664022388     12/30/14      HCL 5MG          1000                                                                          526%
                           Oakwood Village, OH 44146,                                                                           Industries, Inc.   conducted by H.D. Smith with
                                                                                               TABLETS, USP
                                DEA # AT723202                                                                                                          respect to this order.
                           The Medical Service Company,                                                                                            Plaintiffs have been unable to
                                                                                               OXYCODONE
                               24000 Broadway Ave,                                                                                                   identify any due diligence
   10        H. D. Smith                                   9143    10702005601     12/30/14     HCI 10MG           500         KVK-Tech, Inc.                                                   537%
                           Oakwood Village, OH 44146,                                                                                              conducted by H.D. Smith with
                                                                                               TABLETS USP
                                DEA # AT723202                                                                                                          respect to this order.




                                                                                                                                                                                                           Page 12
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McKesson Corp. “designed and operated” a suspicious order monitoring system (SOMS) entitled Lifestyle Drug Monitoring Program which it
represented to the United States Department of Justice was operational as of May 1, 2007, with the express purpose of blocking all orders of oxycodone (Base Code
9143) in excess of 8,000 doses in a given month until due diligence was performed. Depo. Hartle (McKesson corporate designee) at p. 179-212, Exhibit 17 and 19.
In May of 2007, McKesson shipped fifty-two (52) orders to Rite Aid #3157, 3402 Clark Avenue, Cleveland, OH 44109, DEA #AG1573674 after shipping 8,000
doses earlier in the same month. No due diligence file has been produced by McKesson for this pharmacy. The following ten (10) transactions can be found in the
ARCOS database:
  Suspicious                                             Base
               Distributor   Name and Address of Buyer          Transaction ID    Date        Product Name   Dosage Units    Labeler*      Review of Due Diligence File
  Order No.                                              Code
                                  Rite Aid #3157                                             OXYCODONE                                     Plaintiffs have been unable to
               McKesson         3402 Clark Avenue                                           HCL/ACETAMIN                                     identify any due diligence
      1                                                  9143    705013880       5/18/07                        1700        Mallinckrodt
               Corporation     Cleveland, OH 44109                                             OPHEN                                       conducted by McKesson with
                               DEA # AG1573674                                                5MG/325M                                          respect to this order.
                                  Rite Aid #3157                                             OXYCODONE                                     Plaintiffs have been unable to
               McKesson         3402 Clark Avenue                                           HCL/ACETAMIN                                     identify any due diligence
      2                                                  9143    705013590       5/11/07                        1300        Mallinckrodt
               Corporation     Cleveland, OH 44109                                             OPHEN                                       conducted by McKesson with
                               DEA # AG1573674                                                5MG/325M                                          respect to this order.
                                  Rite Aid #3157                                             OXYCODONE                                     Plaintiffs have been unable to
               McKesson         3402 Clark Avenue                                           HCL/ACETAMIN                                     identify any due diligence
      3                                                  9143    705014175       5/25/07                        1200        Mallinckrodt
               Corporation     Cleveland, OH 44109                                             OPHEN                                       conducted by McKesson with
                               DEA # AG1573674                                                5MG/325M                                          respect to this order.
                                  Rite Aid #3157                                             OXYCODONE                                     Plaintiffs have been unable to
               McKesson         3402 Clark Avenue                                           HCL/ACETAMIN                                     identify any due diligence
      4                                                  9143    705014277       5/30/07                        1200        Mallinckrodt
               Corporation     Cleveland, OH 44109                                             OPHEN                                       conducted by McKesson with
                               DEA # AG1573674                                                5MG/325M                                          respect to this order.
                                  Rite Aid #3157                                             OXYCODONE                                     Plaintiffs have been unable to
               McKesson         3402 Clark Avenue                                           HCL/ACETAMIN                                     identify any due diligence
      5                                                  9143    705013530       5/10/07                        1100        Mallinckrodt
               Corporation     Cleveland, OH 44109                                             OPHEN                                       conducted by McKesson with
                               DEA # AG1573674                                                5MG/325M                                          respect to this order.
                                  Rite Aid #3157                                             OXYCODONE                                     Plaintiffs have been unable to
               McKesson         3402 Clark Avenue                                           HCL/ACETAMIN                                     identify any due diligence
      6                                                  9143    705013338       5/7/07                         1000        Mallinckrodt
               Corporation     Cleveland, OH 44109                                             OPHEN                                       conducted by McKesson with
                               DEA # AG1573674                                                5MG/325M                                          respect to this order.
                                  Rite Aid #3157                                             OXYCODONE                                     Plaintiffs have been unable to
               McKesson         3402 Clark Avenue                                           HCL/ACETAMIN                                     identify any due diligence
      7                                                  9143    705013724       5/15/07                        1000        Mallinckrodt
               Corporation     Cleveland, OH 44109                                             OPHEN                                       conducted by McKesson with
                               DEA # AG1573674                                                5MG/325M                                          respect to this order.




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Suspicious                                             Base
             Distributor   Name and Address of Buyer          Transaction ID    Date        Product Name   Dosage Units    Labeler*      Review of Due Diligence File
Order No.                                              Code
                                Rite Aid #3157                                             OXYCODONE                                     Plaintiffs have been unable to
             McKesson         3402 Clark Avenue                                           HCL/ACETAMIN                                     identify any due diligence
    8                                                  9143    705013434       5/8/07                          800        Mallinckrodt
             Corporation     Cleveland, OH 44109                                             OPHEN                                       conducted by McKesson with
                             DEA # AG1573674                                                5MG/325M                                          respect to this order.
                                Rite Aid #3157                                             OXYCODONE                                     Plaintiffs have been unable to
             McKesson         3402 Clark Avenue                                           HCL/ACETAMIN                                     identify any due diligence
    9                                                  9143    705013930       5/21/07                         600        Mallinckrodt
             Corporation     Cleveland, OH 44109                                             OPHEN                                       conducted by McKesson with
                             DEA # AG1573674                                                5MG/325M                                          respect to this order.
                                Rite Aid #3157                                             OXYCODONE                                     Plaintiffs have been unable to
             McKesson         3402 Clark Avenue                                           HCL/ACETAMIN                                     identify any due diligence
   10                                                  9143    705014208       5/29/07                         500        Mallinckrodt
             Corporation     Cleveland, OH 44109                                             OPHEN                                       conducted by McKesson with
                             DEA # AG1573674                                                5MG/325M                                          respect to this order.




                                                                                                                                                                          Page 14
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In May 2009 Rite Aid's national average for monthly distribution per pharmacy for Hydrocodone (9193) was 6,319 dosage units. In that same month, Rite Aid shipped 32,300 dosage units to Rite
Aid #3151, 325 East Waterloo Rd, Akron OH 44319, DEA # AM1573612. The May 2009 orders identified below were all shipped after Rite Aid #3151, 325 East Waterloo Rd, Akron OH 44319,
DEA # AM1573612 had already received dosage units in excess of three times the national average from Rite Aid.

In August 2009 Rite Aid's national average for monthly distribution per pharmacy for Hydrocodone (9193) was 6,389 dosage units. In that same month, Rite Aid shipped 30,600 dosage units to Rite
Aid #3151, 325 East Waterloo Rd, Akron OH 44319, DEA # AM1573612. The August 2009 orders identified below were all shipped after Rite Aid #3151, 325 East Waterloo Rd, Akron OH
44319, DEA # AM1573612 had already received dosage units in excess of three times the national average from Rite Aid.

  Suspicious                                             Base                                                                                                                   Cumulative Dosage Unit Total as
               Distributor   Name and Address of Buyer          NDC Code        Date         Product Name   Dosage Units    Labeler*       Review of Due Diligence File
  Order No.                                              Code                                                                                                                 Compared to RiteAid Monthly Average
                                                                                           HYDROCODONE                                     Plaintiffs have been unable to
                              Rite Aid #3151, 325 East
                                                                                             BIT/ACETA                                       identify any due diligence
      1         Rite Aid       Waterloo Rd, Akron OH     9193   406036701      5/28/09                          700        SpecGx LLC                                                       408%
                                                                                            10MG/325MG                                   conducted by Rite Aid with respect
                             44319, DEA # AM1573612
                                                                                                USP                                                 to this order.
                                                                                                                                           Plaintiffs have been unable to
                              Rite Aid #3151, 325 East                                     HYDROCODONE
                                                                                                                                             identify any due diligence
      2         Rite Aid       Waterloo Rd, Akron OH     9193   406036501      5/28/09       BIT/ACETA          100        SpecGx LLC                                                       410%
                                                                                                                                         conducted by Rite Aid with respect
                             44319, DEA # AM1573612                                        5MG/325MG USP
                                                                                                                                                    to this order.
                                                                                                                                           Plaintiffs have been unable to
                              Rite Aid #3151, 325 East                                     HYDROCODONE
                                                                                                                                             identify any due diligence
      3         Rite Aid       Waterloo Rd, Akron OH     9193   406035801      5/28/09        BIT/ACETA         400        SpecGx LLC                                                       416%
                                                                                                                                         conducted by Rite Aid with respect
                             44319, DEA # AM1573612                                        7.5MG/500MG US
                                                                                                                                                    to this order.
                                                                                           HYDROCODO.BI                                    Plaintiffs have been unable to
                              Rite Aid #3151, 325 East
                                                                                               T/APAP                                        identify any due diligence
      4         Rite Aid       Waterloo Rd, Akron OH     9193   406036005      5/28/09                         1000        SpecGx LLC                                                       432%
                                                                                            7.5MG/750MG                                  conducted by Rite Aid with respect
                             44319, DEA # AM1573612
                                                                                                USP T                                               to this order.
                                                                                                                                           Plaintiffs have been unable to
                              Rite Aid #3151, 325 East                                     HYDROCODONE
                                                                                                                                             identify any due diligence
      5         Rite Aid       Waterloo Rd, Akron OH     9193   406035705      5/28/09     BIT/ACETAMINO       5000        SpecGx LLC                                                       511%
                                                                                                                                         conducted by Rite Aid with respect
                             44319, DEA # AM1573612                                         PHEN 5MG/50
                                                                                                                                                    to this order.
                                                                                                                                           Plaintiffs have been unable to
                              Rite Aid #3151, 325 East                                     HYDROCODONE
                                                                                                                                             identify any due diligence
      6         Rite Aid       Waterloo Rd, Akron OH     9193   406035801      8/29/09        BIT/ACETA         400        SpecGx LLC                                                       366%
                                                                                                                                         conducted by Rite Aid with respect
                             44319, DEA # AM1573612                                        7.5MG/500MG US
                                                                                                                                                    to this order.
                                                                                           HYDROCODONE                                     Plaintiffs have been unable to
                              Rite Aid #3151, 325 East
                                                                                             BIT/ACETA                                       identify any due diligence
      7         Rite Aid       Waterloo Rd, Akron OH     9193   406036701      8/29/09                          400        SpecGx LLC                                                       372%
                                                                                            10MG/325MG                                   conducted by Rite Aid with respect
                             44319, DEA # AM1573612
                                                                                                USP                                                 to this order.
                                                                                                                                           Plaintiffs have been unable to
                              Rite Aid #3151, 325 East                                     HYDROCODONE
                                                                                                                                             identify any due diligence
      8         Rite Aid       Waterloo Rd, Akron OH     9193   406035705      8/29/09     BIT/ACETAMINO       4500        SpecGx LLC                                                       443%
                                                                                                                                         conducted by Rite Aid with respect
                             44319, DEA # AM1573612                                         PHEN 5MG/50
                                                                                                                                                    to this order.
                                                                                                                                           Plaintiffs have been unable to
                              Rite Aid #3151, 325 East                                      VICODIN ES
                                                                                                                                             identify any due diligence
      9         Rite Aid       Waterloo Rd, Akron OH     9193   74197314       8/29/09     TABLETS 7.5MG        300        AbbVie Inc.                                                      448%
                                                                                                                                         conducted by Rite Aid with respect
                             44319, DEA # AM1573612                                        HYDROCODONE
                                                                                                                                                    to this order.



                                                                                                                                                                                                              Page 15
Suspicious
                                                 Case:Base
                                                        1:17-md-02804-DAP Doc #: 2212-27 Filed: 08/13/19 21 of 35. PageID #: 336401                                      Cumulative Dosage Unit Total as
             Distributor   Name and Address of Buyer          NDC Code       Date      Product Name   Dosage Units    Labeler*      Review of Due Diligence File
Order No.                                              Code                                                                                                            Compared to RiteAid Monthly Average
                                                                                      HYDROCODO.BI                                  Plaintiffs have been unable to
                            Rite Aid #3151, 325 East
                                                                                          T/APAP                                      identify any due diligence
   10         Rite Aid       Waterloo Rd, Akron OH     9193   406036005     8/29/09                      2000        SpecGx LLC                                                      479%
                                                                                       7.5MG/750MG                                conducted by Rite Aid with respect
                           44319, DEA # AM1573612
                                                                                           USP T                                             to this order.




                                                                                                                                                                                                       Page 16
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In August 2011 Walgreen Co.'s national average for monthly distribution per pharmacy for Oxycodone (9143) was 10,544 dosage units. In that same month, Walgreen Co. shipped 42,700 dosage
units to Walgreens # 03310, 16803 Lorain Ave., Cleveland, OH 44111, DEA # BW4147307. The orders identified below were all shipped after Walgreens # 03310, 16803 Lorain Ave., Cleveland,
OH 44111, DEA # BW4147307 had already received dosage units in excess of three times the national average from Walgreen Co.

                                                                                                                                                                                         Cumulative Dosage Unit Total as
  Suspicious                                              Base
               Distributor   Name and Address of Buyer             NDC Code        Date        Product Name    Dosage Units         Labeler*           Review of Due Diligence File     Compared to Walgreen Co. Monthly
  Order No.                                               Code
                                                                                                                                                                                                    Average
                                Walgreens # 03310                                                                                                      Plaintiffs have been unable to
                                                                                              OXYCODONE
               WALGREEN         16803 Lorain Ave.                                                                                                        identify any due diligence
      1                                                   9143    10702005601     8/29/11      HCI 10MG            200          KVK-Tech, Inc.                                                       316%
                  CO.          Cleveland, OH 44111                                                                                                    conducted by Walgreen Co. with
                                                                                              TABLETS USP
                               DEA # BW4147307                                                                                                              respect to this order.
                                                                                              OXYCODONE
                                Walgreens # 03310                                                                                                      Plaintiffs have been unable to
                                                                                             HYDROCHLORI
               WALGREEN         16803 Lorain Ave.                                                                                                        identify any due diligence
      2                                                   9143     591074905      8/29/11         DE              4000        Actavis Pharma, Inc.                                                   354%
                  CO.          Cleveland, OH 44111                                                                                                    conducted by Walgreen Co. with
                                                                                             5MG&ACETAMI
                               DEA # BW4147307                                                                                                              respect to this order.
                                                                                                   N
                                Walgreens # 03310                                             OXYCODONE                                                Plaintiffs have been unable to
                                                                                                                                   Glenmark
               WALGREEN         16803 Lorain Ave.                                            HYDROCHLORI                                                 identify any due diligence
      3                                                   9143    68462020401     8/29/11                          100        Pharmaceuticals Inc.,                                                  355%
                  CO.          Cleveland, OH 44111                                              DE 5MG                                                conducted by Walgreen Co. with
                                                                                                                                     USA
                               DEA # BW4147307                                                 CAPSULE                                                      respect to this order.
                                Walgreens # 03310                                                                                                      Plaintiffs have been unable to
                                                                                              OXYCODONE
               WALGREEN         16803 Lorain Ave.                                                                                                        identify any due diligence
      4                                                   9143     228287911      8/29/11      HCL 30MG            100        Actavis Pharma, Inc.                                                   356%
                  CO.          Cleveland, OH 44111                                                                                                    conducted by Walgreen Co. with
                                                                                             TABLETS, 100 CT
                               DEA # BW4147307                                                                                                              respect to this order.
                                Walgreens # 03310                                            OXYCODONE.H                                               Plaintiffs have been unable to
               WALGREEN         16803 Lorain Ave.                                               CL/APAP                                                  identify any due diligence
      5                                                   9143     591093201      8/29/11                         3500        Actavis Pharma, Inc.                                                   389%
                  CO.          Cleveland, OH 44111                                            10MG/325MG                                              conducted by Walgreen Co. with
                               DEA # BW4147307                                                   TABS                                                       respect to this order.
                                Walgreens # 03310                                                                                                      Plaintiffs have been unable to
                                                                                             OXYCODONE.H
               WALGREEN         16803 Lorain Ave.                                                                                                        identify any due diligence
      6                                                   9143     591082501      8/29/11    CL 10MG / APAP        100        Actavis Pharma, Inc.                                                   390%
                  CO.          Cleveland, OH 44111                                                                                                    conducted by Walgreen Co. with
                                                                                              650MG TABL
                               DEA # BW4147307                                                                                                              respect to this order.
                                Walgreens # 03310                                             OXYCONTIN                                                Plaintiffs have been unable to
               WALGREEN         16803 Lorain Ave.                                                10MG                                                    identify any due diligence
      7                                                   9143    59011041010     8/29/11                          300         Purdue Pharma LP                                                      393%
                  CO.          Cleveland, OH 44111                                            OXYCODONE                                               conducted by Walgreen Co. with
                               DEA # BW4147307                                                HCL CR TABL                                                   respect to this order.
                                Walgreens # 03310                                             OXYCODONE                                                Plaintiffs have been unable to
               WALGREEN         16803 Lorain Ave.                                            HYDROCHLORI                                                 identify any due diligence
      8                                                   9143     406055201      8/29/11                         1000           SpecGx LLC                                                          402%
                  CO.          Cleveland, OH 44111                                            DE TABLETS                                              conducted by Walgreen Co. with
                               DEA # BW4147307                                                    5MG                                                       respect to this order.



                                                                                                                                                                                                               Page 17
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                                                                                                                                                                                      Cumulative Dosage Unit Total as
Suspicious                                              Base
             Distributor   Name and Address of Buyer             NDC Code        Date        Product Name    Dosage Units         Labeler*          Review of Due Diligence File     Compared to Walgreen Co. Monthly
Order No.                                               Code
                                                                                                                                                                                                 Average
                              Walgreens # 03310                                                                                                     Plaintiffs have been unable to
                                                                                            OXYCODONE
             WALGREEN         16803 Lorain Ave.                                                                                                       identify any due diligence
    9                                                   9143     228287811      8/29/11      HCL 15MG            200        Actavis Pharma, Inc.                                                  404%
                CO.          Cleveland, OH 44111                                                                                                   conducted by Walgreen Co. with
                                                                                           TABLETS, 100 CT
                             DEA # BW4147307                                                                                                             respect to this order.
                              Walgreens # 03310                                             OXYCONTIN                                               Plaintiffs have been unable to
             WALGREEN         16803 Lorain Ave.                                                30MG                                                   identify any due diligence
   10                                                   9143    59011043010     8/29/11                          100         Purdue Pharma LP                                                     405%
                CO.          Cleveland, OH 44111                                            OXYCODONE                                              conducted by Walgreen Co. with
                             DEA # BW4147307                                                HCL CR TABL                                                  respect to this order.




                                                                                                                                                                                                            Page 18
                                                                             Case:
Plaintiffs contend that the following orders, which were distributed by Discount      1:17-md-02804-DAP
                                                                                 Drug Mart constitute Suspicious Orders asDoc
                                                                                                                          defined#: 2212-27
                                                                                                                                  under 21 C.F.R.              Filed: 08/13/19 24 of 35. PageID #: 336404

                                                                                                                                                                                                                                                                                                                                Additional factors which were
                                                                                                                                                                                                                                                                                                    Total Base Code Dosage
                                                                                                                                                                                                                                                                                                                               or should have been known to
 Suspicious                                                                                                                                                                                                                                                  Review of DDM Due Diligence          Units Distributed by DDM
                 Distributor         Name and Address of Buyer   Base Code   NDC No         Date             Product Name         Dosage Unit      Labeler                                     Criteria Used to Select Order                                                                                                    DDM at the time of filling the
 Order No.                                                                                                                                                                                                                                                              Files                     to this location in month of
                                                                                                                                                                                                                                                                                                                               order and were used to identify
                                                                                                                                                                                                                                                                                                              order
                                                                                                                                                                                                                                                                                                                                  these orders as suspicious



                                    DISCOUNT DRUG MART                                                                                                             On 9/17/2014 alone, DDM shipped this location at least 17,500 DU of Hydro 5, which is    Plaintiffs have been unable to
              DISCOUNT DRUG                                                                           HYDROCODONE BITARTRATE                         Par
     1                                8191 COLUMBIA RD              9193     603389032   09/17/2014                                 10,000                        190% of DDM's average shipments of Hydro 5 to an Ohio Pharmacy for the entire previous identify any due diligence conducted              39,720                     Footnotes 1 - 4
                   MART                                                                                   5MG/ACETAMINO                         Pharmaceutical
                                   OLMSTED FALLS, OH 44138                                                                                                                                       month (August 2014).                                     by DDM with respect to this order.

                                    DISCOUNT DRUG MART                                                                                                             On 9/17/2014 alone, DDM shipped this location at least 17,500 DU of Hydro 5, which is    Plaintiffs have been unable to
              DISCOUNT DRUG                                                                           HYDROCODONE BITARTRATE                         Par
     2                                655 PORTAGE TRAIL             9193     603389032   09/17/2014                                 17,000                        333% of DDM's average shipments of Hydro 5 to an Ohio Pharmacy for the entire previous identify any due diligence conducted              48,380                     Footnotes 5 - 8
                   MART                                                                                   5MG/ACETAMINO                         Pharmaceutical
                                   CUYAHOGA FALLS, OH 4421                                                                                                                                       month (August 2014).                                     by DDM with respect to this order.

                                    DISCOUNT DRUG MART                                                                                                            On 5/1/2010 alone, DDM shipped this location 2,000 DU of Hydro 10, which is 148% of         Plaintiffs have been unable to
              DISCOUNT DRUG                                                                           HYDROCODONE.BIT./ACET.,1                       Par
     3                                 6476 YORK ROAD               9193     603388728   05/01/2014                                  1,000                        DDM's average shipments of Hydro 10 to an Ohio Pharmacy for the entire previous month    identify any due diligence conducted            19,060                     Footnotes 9 - 12
                   MART                                                                                    0MG & 325MG/                         Pharmaceutical
                                   PARMA HEIGHTS, OH 44130                                                                                                                                           (April 2010).                                          by DDM with respect to this order.

                                    DISCOUNT DRUG MART                                                                                                            On 5/1/2010 alone, DDM shipped this location 2,000 DU of Hydro 10, which is 148% of         Plaintiffs have been unable to
              DISCOUNT DRUG                                                                           HYDROCODONE.BIT./ACET.,1                       Par
     4                                 6476 YORK ROAD               9193     603388728   05/01/2014                                  1,000                        DDM's average shipments of Hydro 10 to an Ohio Pharmacy for the entire previous month    identify any due diligence conducted            19,060                     Footnotes 9 - 12
                   MART                                                                                    0MG & 325MG/                         Pharmaceutical
                                   PARMA HEIGHTS, OH 44130                                                                                                                                           (April 2010).                                          by DDM with respect to this order.

                                    DISCOUNT DRUG MART                                                                                                           The shipment of the last two orders of Hydro 10 in September 2014 caused DDM's September   Plaintiffs have been unable to
              DISCOUNT DRUG                                                                           HYDROCODONE.BIT./ACET.,1                       Par
     5                                 6476 YORK ROAD               9193     603388728   09/18/2014                                  1,000                        2014 shipments of Hydro 10 to this pharmacy to reach 9,000 DU, 535% of DDM's average identify any due diligence conducted                49,120                    Footnotes 13 - 16
                   MART                                                                                    0MG & 325MG/                         Pharmaceutical
                                   PARMA HEIGHTS, OH 44130                                                                                                            shipments of Hydro 10 to an Ohio Pharmacy for the entire month of August 2014.      by DDM with respect to this order.

                                    DISCOUNT DRUG MART                                                                                                           The shipment of the last two orders of Hydro 10 in September 2014 caused DDM's September   Plaintiffs have been unable to
              DISCOUNT DRUG                                                                           HYDROCODONE.BIT./ACET.,1                       Par
     6                                 6476 YORK ROAD               9193     603388728   09/25/2014                                  2,000                        2014 shipments of Hydro 10 to this pharmacy to reach 9,000 DU, 535% of DDM's average identify any due diligence conducted                49,120                    Footnotes 13 - 16
                   MART                                                                                    0MG & 325MG/                         Pharmaceutical
                                   PARMA HEIGHTS, OH 44130                                                                                                            shipments of Hydro 10 to an Ohio Pharmacy for the entire month of August 2014.      by DDM with respect to this order.

                                    DISCOUNT DRUG MART                                                                                                           On 7/2/2014 alone, DDM shipped this location more than 11,000 DU of Hydro 5, which is     Plaintiffs have been unable to
              DISCOUNT DRUG                                                                           HYDROCODONE BITARTRATE                         Par
     7                                 6476 YORK ROAD               9193     603389032   07/02/2014                                 11,000                       214% of DDM's average shipments of Hydro 5 to an Ohio Pharmacy for the entire previous identify any due diligence conducted               20,330                    Footnotes 17 - 20
                   MART                                                                                   5MG/ACETAMINO                         Pharmaceutical
                                   PARMA HEIGHTS, OH 44130                                                                                                                                       month (June 2014).                                      by DDM with respect to this order.

                                     DISCOUNT DRUG MART                                                                                                                                                                                                   Plaintiffs have been unable to
              DISCOUNT DRUG                                                                           HYDROCODONE.BIT./ACET.,1                       Par          This shipment of Hydro 10 was 178% of DDM's average shipments of Hydro 10 to an Ohio
     8                                 711 CANTON ROAD              9193     603388728   09/26/2014                                 3,000                                                                                                              identify any due diligence conducted                57,500                    Footnotes 21 - 24
                   MART                                                                                    0MG & 325MG/                         Pharmaceutical                         Pharmacy for the entire month of August 2014.
                                        AKRON, OH 44132                                                                                                                                                                                                 by DDM with respect to this order.

                                     DISCOUNT DRUG MART                                                                                                           On 9/29/2014 alone, DDM shipped this location at least 4,200 DU of Hydro 7.5, which is     Plaintiffs have been unable to
              DISCOUNT DRUG                                                                           HYDROCODONE BITARTRATE                         Par
     9                                 711 CANTON ROAD              9193     603389128   09/29/2014                                 4,000                        223% of DDM's average shipments of Hydro 7.5 to an Ohio Pharmacy for the entire previous identify any due diligence conducted             57,500                    Footnotes 21 - 24
                   MART                                                                                    & ACETA 7.5MG                        Pharmaceutical
                                        AKRON, OH 44132                                                                                                                                          month (August 2014).                                      by DDM with respect to this order.

                                     DISCOUNT DRUG MART                                                                                                           On 9/29/2014 alone, DDM shipped this location at least 4,200 DU of Hydro 7.5, which is     Plaintiffs have been unable to
              DISCOUNT DRUG                                                                           VICODIN ES HYDROCODONE
    10                                 711 CANTON ROAD              9193     74304313    09/29/2014                                  200         AbbVie Inc.     223% of DDM's average shipments of Hydro 7.5 to an Ohio Pharmacy for the entire previous identify any due diligence conducted             57,500                    Footnotes 21 - 24
                   MART                                                                                    BITRATE/ACETA
                                        AKRON, OH 44132                                                                                                                                          month (August 2014).                                      by DDM with respect to this order.


1. The DDM national average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 8,694 dosage units. DDM's monthly shipments to BD0743016, 8191 COLUMBIA RD, OLMSTED FALLS, OH for Hydrocodone (9193) were approximately 457% of the national
average.
2. The DDM Ohio average for monthly distribution per pharmacy for Hydrocodone (9193)for the month prior to the month of this shipment, was 8,694 dosage units. DDM's monthly shipments to DDM, BD0743016, 8191 COLUMBIA RD, OLMSTED FALLS, OH 44109 for Hydrocodone (9193) were approximately 457% of the
Ohio average.
3. The DDM Cuyahoga County average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 6,207 dosage units.
DDM’s monthly shipments to DDM, BD0743016, 8191 COLUMBIA RD, OLMSTED FALLS, OH 44109 for Hydrocodone (9193) were approximately 640% of the Cuyahoga County average.
4. The DDM average monthly distribution to DDM, BD0743016, 8191 COLUMBIA RD, OLMSTED FALLS, OH 44109 for Hydrocodone (9193) from January 1, 2006, up to the month of this shipment, was 11,485 dosage units.
DDM’s monthly shipments of Hydrocodone (9193) was approximately 335% of the average for DDM, BD0743016, 8191 COLUMBIA RD, OLMSTED FALLS, OH.
5. The DDM national average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 8,694 dosage units. DDM's monthly shipments to BD1354149, 655 PORTAGE TRAIL, CUYAHOGA FALLS, OH for Hydrocodone (9193) were approximately 556% of the national
average.
6. The DDM Ohio average for monthly distribution per pharmacy for Hydrocodone (9193)for the month prior to the month of this shipment, was 8,694 dosage units. DDM's monthly shipments to DDM, BD1354149, 655 PORTAGE TRAIL, CUYAHOGA FALLS, OH for Hydrocodone (9193) were approximately 556% of the Ohio
average.
7. The DDM Cuyahoga County average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 5,522 dosage units.
DDM’s monthly shipments to DDM, BD1354149, 655 PORTAGE TRAIL, CUYAHOGA FALLS, OH for Hydrocodone (9193) were approximately 876% of the Summit County average.
8. The DDM average monthly distribution to DDM, BD1354149, 655 PORTAGE TRAIL, CUYAHOGA FALLS, OH for Hydrocodone (9193) from January 1, 2006, up to the month of this shipment, was 11,063 dosage units.
DDM’s monthly shipments of Hydrocodone (9193) were approximately 437% of the average for DDM, BD1354149, 655 PORTAGE TRAIL, CUYAHOGA FALLS, OH.
9. The DDM national average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 8,404 dosage units. DDM's monthly shipments to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) were approximately 227% of the national
average.
                                                                                                                                                                                                                                                                                                                                                Page 19
                                                                              Case: 1:17-md-02804-DAP Doc #: 2212-27 Filed: 08/13/19 25 of 35. PageID #: 336405
10. The DDM Ohio average for monthly distribution per pharmacy for Hydrocodone (9193)for the month prior to the month of this shipment, was 8,404 dosage units. DDM's monthly shipments to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) were approximately 227% of the Ohio
average.
11. The DDM Cuyahoga County average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 6,641 dosage units.
DDM’s monthly shipments to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) were approximately 287% of the Cuyahoga County average.
12. The DDM average monthly distribution to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) from January 1, 2006, up to the month of this shipment, was 19,060 dosage units.
DDM’s monthly shipments of Hydrocodone (9193) were approximately 138% of the average for DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH
13. The DDM national average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 8,694 dosage units. DDM's monthly shipments to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) were approximately 565% of the
national average.
14. The DDM Ohio average for monthly distribution per pharmacy for Hydrocodone (9193)for the month prior to the month of this shipment, was 8,694 dosage units. DDM's monthly shipments to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) were approximately 565% of the Ohio
average.
15. The DDM Cuyahoga County average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 6,207 dosage units.
DDM’s monthly shipments to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) were approximately 791% of the Cuyahoga County average.
16. The DDM average monthly distribution to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) from January 1, 2006, up to the month of this shipment, was 49,120 dosage units.
DDM’s monthly shipments of Hydrocodone (9193) were approximately 353% of the average for DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH
17. The DDM national average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 7,808 dosage units. DDM's monthly shipments to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) were approximately 260% of the
national average.
18. The DDM Ohio average for monthly distribution per pharmacy for Hydrocodone (9193)for the month prior to the month of this shipment, was 7,808 dosage units. DDM's monthly shipments to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) were approximately 260% of the Ohio
average.
19. The DDM Cuyahoga County average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 5,925 dosage units.
DDM’s monthly shipments to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH for Hydrocodone (9193) were approximately 343% of the Cuyahoga County average.
20. The DDM average monthly distribution to DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH 44109 for Hydrocodone (9193) from January 1, 2006, up to the month of this shipment, was 20,330 dosage units.
DDM’s monthly shipments of Hydrocodone (9193) were approximately 147% of the average for DDM, BD2308155, 6476 YORK ROAD, PARMA HEIGHTS, OH.

21. The DDM national average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 8,694 dosage units. DDM's monthly shipments to BD3814123, 711 CANTON ROAD, AKRON, OH for Hydrocodone (9193) were approximately 661% of the national average.

22. The DDM Ohio average for monthly distribution per pharmacy for Hydrocodone (9193)for the month prior to the month of this shipment, was 8,694 dosage units. DDM's monthly shipments to DDM, BD3814123, 711 CANTON ROAD, AKRON, OH 44109 for Hydrocodone (9193) were approximately 661% of the Ohio
average.
23. The DDM Cuyahoga County average for monthly distribution per pharmacy for Hydrocodone (9193) for the month prior to the month of this shipment, was 5,522 dosage units.
DDM’s monthly shipments to DDM, BD3814123, 711 CANTON ROAD, AKRON, OH for Hydrocodone (9193) were approximately 1041% of the Summit County average.
24. The DDM average monthly distribution to DDM, BD3814123, 711 CANTON ROAD, AKRON, OH 44109 for Hydrocodone (9193) from January 1, 2006, up to the month of this shipment, was 9,837 dosage units.
DDM’s monthly shipments of Hydrocodone (9193) were approximately 585% of the average for DDM, BD3814123, 711 CANTON ROAD, AKRON, OH.




                                                                                                                                                                                                                                                                                                        Page 20
                                                                          Case: Supply
Plaintiffs contend that the following orders, which were distributed by Prescription 1:17-md-02804-DAP               Docas#:defined
                                                                                         Inc. constitute Suspicious Orders    2212-27
                                                                                                                                    under 21 Filed:
                                                                                                                                             C.F.R.                  08/13/19 26 of 35. PageID #: 336406
§ 1301.74(b):
                                                                                                                                                                                                                                                                                              Total Base Code Dosage      Additional factors which were or
                                                                                                                                                                                                                                                                                                Units Distributed by         should have been known to
 Suspicious                                                  Base
              Distributor     Name and Address of Buyer              NDC Code      Date      Product Name   Dosage Units        Labeler*                                          Criteria Used to Identify Order                                       Review of Due Diligence File         Prescription Supply Inc. to Prescription Supply Inc. at the time
 Order No.                                                   Code
                                                                                                                                                                                                                                                                                              this location in month of of filling the order and were used to
                                                                                                                                                                                                                                                                                                         order            identify these orders as suspicious




                                                                                                                                                                                                                                                     There does not appear to be any due
                              Discount Drug Mart Inc #5,
                                                                                                                                                  The limit used based on a 4 month average of 8,600 pills per month compared to the below national, diligence file for Discount Drug Mart
     1            PSI       15412 Detroit Avenue, Lakewood   9143    591093201    12/29/06    OXYCODONE         200           Allergan, Inc.                                                                                                                                                          13,300                        Footnotes 1-4
                                                                                                                                                 state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2006 produced by the
                                OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                    Defendant.




                                                                                                                                                                                                                                                     There does not appear to be any due
                              Discount Drug Mart Inc #5,
                                                                                                                                                  The limit used based on a 4 month average of 8,600 pills per month compared to the below national, diligence file for Discount Drug Mart
     2            PSI       15412 Detroit Avenue, Lakewood   9143    591082401    12/29/06    OXYCODONE         100           Allergan, Inc.                                                                                                                                                          13,300                        Footnotes 1-4
                                                                                                                                                 state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2006 produced by the
                                OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                    Defendant.




                                                                                                                                                                                                                                                     There does not appear to be any due
                              Discount Drug Mart Inc #5,
                                                                                                                                                  The limit used based on a 4 month average of 8,600 pills per month compared to the below national, diligence file for Discount Drug Mart
     3            PSI       15412 Detroit Avenue, Lakewood   9143    603499828    12/29/06    OXYCODONE        1,000   Endo Pharmaceuticals, Inc.                                                                                                                                                     13,300                        Footnotes 1-4
                                                                                                                                                state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.    Inc #5 for 2006 produced by the
                                OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                    Defendant.


                                                                                                                                                                                                                                                     There does not appear to be any due
                              Discount Drug Mart Inc #5,
                                                                                                                                                  The limit used based on a 4 month average of 8,600 pills per month compared to the below national, diligence file for Discount Drug Mart
     4            PSI       15412 Detroit Avenue, Lakewood   9143   68774016201   12/29/06    OXYCODONE         400    Endo Pharmaceuticals, Inc.                                                                                                                                                     13,300                        Footnotes 1-4
                                                                                                                                                state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.    Inc #5 for 2006 produced by the
                                OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                    Defendant.

                                                                                                                                                                                                                                                    There does not appear to be any due
                              Discount Drug Mart Inc #5,
                                                                                                                                                 The limit used based on a 4 month average of 8,600 pills per month compared to the below national, diligence file for Discount Drug Mart
     5            PSI       15412 Detroit Avenue, Lakewood   9143   58177062504   12/29/06    OXYCODONE         100    AMAG Pharmaceuticals, Inc.                                                                                                                                                     13,300                        Footnotes 1-4
                                                                                                                                                state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2006 produced by the
                                OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                   Defendant.




                                                                                                                                                                                                                                                     There does not appear to be any due
                              Discount Drug Mart Inc #5,
                                                                                                                                                  The limit used based on a 4 month average of 8,600 pills per month compared to the below national, diligence file for Discount Drug Mart
     6            PSI       15412 Detroit Avenue, Lakewood   9143    591350401    12/29/06    OXYCODONE         200           Allergan, Inc.                                                                                                                                                          13,300                        Footnotes 1-4
                                                                                                                                                 state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2006 produced by the
                                OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                    Defendant.




                                                                                                                                                                                                                                                     There does not appear to be any due
                              Discount Drug Mart Inc #5,
                                                                                                                                                  The limit used based on a 4 month average of 8,175 pills per month compared to the below national, diligence file for Discount Drug Mart
     7            PSI       15412 Detroit Avenue, Lakewood   9143    406052301    8/28/09     OXYCODONE         500           Mallinckrodt                                                                                                                                                            13,300                        Footnotes 5-8
                                                                                                                                                 state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2009 produced by the
                                OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                    Defendant.




                                                                                                                                                                                                                                                                                                                                             Page 21
                                                                                                        Case: 1:17-md-02804-DAP Doc #: 2212-27 Filed: 08/13/19 27 of 35. PageID #: 336407
                                                                                                                                                                                                                                                                                                                                                    Total Base Code Dosage      Additional factors which were or
                                                                                                                                                                                                                                                                                                                                                      Units Distributed by         should have been known to
     Suspicious                                                          Base
                     Distributor       Name and Address of Buyer                       NDC Code                Date                 Product Name               Dosage Units          Labeler*                                           Criteria Used to Identify Order                                       Review of Due Diligence File         Prescription Supply Inc. to Prescription Supply Inc. at the time
     Order No.                                                           Code
                                                                                                                                                                                                                                                                                                                                                    this location in month of of filling the order and were used to
                                                                                                                                                                                                                                                                                                                                                               order            identify these orders as suspicious




                                                                                                                                                                                                                                                                                                           There does not appear to be any due
                                      Discount Drug Mart Inc #5,
                                                                                                                                                                                                        The limit used based on a 4 month average of 8,175 pills per month compared to the below national, diligence file for Discount Drug Mart
         8               PSI        15412 Detroit Avenue, Lakewood       9143          406051205             8/28/09                  OXYCODONE                    1,000            Mallinckrodt                                                                                                                                                            13,300                        Footnotes 5-8
                                                                                                                                                                                                       state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2009 produced by the
                                        OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                                                                          Defendant.




                                                                                                                                                                                                                                                                                                           There does not appear to be any due
                                      Discount Drug Mart Inc #5,
                                                                                                                                                                                                        The limit used based on a 4 month average of 8,175 pills per month compared to the below national, diligence file for Discount Drug Mart
         9               PSI        15412 Detroit Avenue, Lakewood       9143          406052201             8/28/09                  OXYCODONE                     500             Mallinckrodt                                                                                                                                                            13,300                        Footnotes 5-8
                                                                                                                                                                                                       state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2009 produced by the
                                        OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                                                                          Defendant.

                                                                                                                                                                                                                                                                                                           There does not appear to be any due
                                      Discount Drug Mart Inc #5,
                                                                                                                                                                                                        The limit used based on a 4 month average of 8,175 pills per month compared to the below national, diligence file for Discount Drug Mart
        10               PSI        15412 Detroit Avenue, Lakewood       9143         59011010310            8/28/09                  OXYCODONE                     200          Purdue Pharma LP                                                                                                                                                           13,300                        Footnotes 5-8
                                                                                                                                                                                                       state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2009 produced by the
                                        OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                                                                          Defendant.

                                                                                                                                                                                                                                                                                                           There does not appear to be any due
                                      Discount Drug Mart Inc #5,
                                                                                                                                                                                                        The limit used based on a 4 month average of 8,175 pills per month compared to the below national, diligence file for Discount Drug Mart
                         PSI        15412 Detroit Avenue, Lakewood       9143         59011010510            8/28/09                  OXYCODONE                     100          Purdue Pharma LP                                                                                                                                                           13,300                        Footnotes 5-8
                                                                                                                                                                                                       state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2009 produced by the
                                        OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                                                                          Defendant.

                                                                                                                                                                                                                                                                                                           There does not appear to be any due
                                      Discount Drug Mart Inc #5,
                                                                                                                                                                                                        The limit used based on a 4 month average of 8,175 pills per month compared to the below national, diligence file for Discount Drug Mart
                         PSI        15412 Detroit Avenue, Lakewood       9143          406055201             8/28/09                  OXYCODONE                     400             Mallinckrodt                                                                                                                                                            13,300                        Footnotes 5-8
                                                                                                                                                                                                       state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2009 produced by the
                                        OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                                                                          Defendant.

                                                                                                                                                                                                                                                                                                           There does not appear to be any due
                                      Discount Drug Mart Inc #5,
                                                                                                                                                                                                        The limit used based on a 4 month average of 8,175 pills per month compared to the below national, diligence file for Discount Drug Mart
                         PSI        15412 Detroit Avenue, Lakewood       9143          591082401             8/31/09                  OXYCODONE                     100             Allergan, Inc.                                                                                                                                                          13,300                        Footnotes 5-8
                                                                                                                                                                                                       state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.   Inc #5 for 2009 produced by the
                                        OH (DEA # AD6388032)
                                                                                                                                                                                                                                                                                                                          Defendant.
                                      Discount Drug Mart Inc #5,                                                                                                                                                                                                                                           There does not appear to be any due
                                                                                                                                                                                                        The limit used based on a 4 month average of 8,175 pills per month compared to the below national,
                         PSI        15412 Detroit Avenue, Lakewood       9143          406051205             8/31/09                  OXYCODONE                     500             Mallinckrodt                                                                                                           diligence file for Discount Drug Mart            13,300                        Footnotes 5-8
                                                                                                                                                                                                       state, and county averages suggests anything above 10,000 dosage units would constitute suspicious.
                                        OH (DEA # AD6388032)                                                                                                                                                                                                                                                 Inc #5 for 2009 produced by the

1.     The Defendants national average for monthly distribution for Oxycodone for the preceding month (November 2006) was 3,784 dosage units per customer. In December 2006 PSI delivered 13,300 Oxycodone to this pharmacy. Therefore PSI provided Discount Drug Mart approximately 351% of what the rest of the pharmacies/drug stores around the country were receiving for a similar timeframe.


2.     The Defendants Ohio average for monthly distributions for Oxycodone for the preceding month (November 2006) was 4,849 dosage units per customer. In December 2006 PSI delivered 13,300 Oxycodone to this pharmacy. Therefore PSI provided Discount Drug Mart approximately 274% of what the rest of the pharmacies/drug stores around Ohio were receiving for a similar timeframe.


3.     The Defendants Cuyahoga average for monthly distributions for Oxycodone for the preceding month (November 2006) was 5,363 dosage units per customer. In December 2006 PSI delivered 13,300 Oxycodone to this pharmacy. Therefore PSI provided Discount Drug Mart approximately 248% of what the rest of the pharmacies/drug stores around Cuyahoga were receiving for a similar timeframe.


4.     Discount Drug Mart has its own ordering patterns and in the preceding five months ordered an average of 8,720 dosage units of Oxycodone from PSI. This constitutes an increase of Discount Drug Mart’s own ordering pattern by 53%.
5.     The Defendants national average for monthly distribution for Oxycodone for the preceding month (July 2009) was 3,849 dosage units per customer. In August 2009 PSI delivered 13,300 Oxycodone to this pharmacy. Therefore PSI provided Discount Drug Mart approximately 346% of what the rest of the pharmacies/drug stores around the country were receiving for a similar timeframe.

6.     The Defendants Ohio average for monthly distributions for Oxycodone for the preceding month (July 2009) was 4,859 dosage units per customer. In August 2009 PSI delivered 13,300 Oxycodone to this pharmacy. Therefore PSI provided Discount Drug Mart approximately 274% of what the rest of the pharmacies/drug stores around Ohio were receiving for a similar timeframe.


7.     The Defendants Cuyahoga average for monthly distributions for Oxycodone for the preceding month (July 2009) was 5,450 dosage units per customer. In August 2009 PSI delivered 13,300 Oxycodone to this pharmacy. Therefore PSI provided Discount Drug Mart approximately 244% of what the rest of the pharmacies/drug stores around Cuyahoga were receiving for a similar timeframe.

8.     Discount Drug Mart has its own ordering patterns and in the preceding four months ordered an average of 8,175 dosage units of Oxycodone from PSI. In August 2009 PSI delivered 13,300 Oxycodone to this pharmacy. This constitutes an increase of Discount Drug Mart’s own ordering pattern by 63%.




                                                                                                                                                                                                                                                                                                                                                                                                   Page 22
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Plaintiffs contend that the following orders, which were distributed by Wal-Mart constitute Suspicious Orders as defined under 21 C.F.R. § 1301.74(b):
                                                                                                                                                                                                                                                                                                                                                                                            Total Base Code Dosage Units       Additional factors which were or should have been known
 Suspicious                                                                                                                                                                                          Dosage
                      Distributor                              Name and Address of Buyer                         Base Code       NDC Code        Date                  Product Name                                  Labeler*                                      Criteria Used to Identify Order                                                 Review of Due Diligence File             Distributed by Wal-Mart to this   to Wal-Mart at the time of filling the order and were used
 Order No.                                                                                                                                                                                            Units
                                                                                                                                                                                                                                                                                                                                                                                               location in month of order                to identify these orders as suspicious
               WAL-MART PHARMACY           WAL-MART PHARMACY 10-3326, 5638 TRANSPORTATION BLVD.,                                                                                                                                        Oxy-5 transaction on 8/31/2007. First time to have a large dosage order of size 5,500.  Plaintiffs have been unable to identify any due diligence
     1                                                                                                              9143        406051205       8/31/07   OXYCODONE HCL/ACETAMINOPHEN 5MG/325M         5,500        SpecGx LLC                                                                                                                                                                          8,600                                       Footnotes 1-5
                    WHSE #45                            GARFIELD HIEGHTS, OH, 44125                                                                                                                                                                        687% of the 4 Week Moving Average for Oxy 5                          conducted by Wal-Mart with respect to this order.
               WAL-MART PHARMACY             WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE,                                                                                                                                                                                                                                   Plaintiffs have been unable to identify any due diligence
     2                                                                                                              9143        406051201       5/13/10   OXYCODONE HCL/ACETAMINOPHEN 5MG/325M         5,100        SpecGx LLC              Order in excess of 4,000 dosage units, and appeared to be consumed quickly                                                                                  12,700                                     Footnotes 6-10
                    WHSE #45                               CLEVELAND, OH, 44109                                                                                                                                                                                                                                                 conducted by Wal-Mart with respect to this order.
               WAL-MART PHARMACY             WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE,                                                                                                                                                                                                                                   Plaintiffs have been unable to identify any due diligence
     3                                                                                                              9143        406051201      12/10/09   OXYCODONE HCL/ACETAMINOPHEN 5MG/325M         5,000        SpecGx LLC              Order in excess of 4,000 dosage units, and appeared to be consumed quickly                                                                                  13,600                                     Footnotes 11-15
                    WHSE #45                               CLEVELAND, OH, 44109                                                                                                                                                                                                                                                 conducted by Wal-Mart with respect to this order.
               WAL-MART PHARMACY           WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER                                                                                                                                                                                                                                  Plaintiffs have been unable to identify any due diligence
     4                                                                                                              9143        406051201      12/16/10   OXYCODONE HCL/ACETAMINOPHEN 5MG/325M         4,600        SpecGx LLC          Order in excess of 4,000 dosage units. 324% of the 4 Week Moving Average for Oxy 5                                                                              8,300                                      Footnotes 16-20
                    WHSE #45                           ROAD, SOUTH EUCLID, OH, 44121                                                                                                                                                                                                                                            conducted by Wal-Mart with respect to this order.
               WAL-MART PHARMACY             WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE,                                                                                                                                                                                                                                   Plaintiffs have been unable to identify any due diligence
     5                                                                                                              9143        406051201      12/16/10   OXYCODONE HCL/ACETAMINOPHEN 5MG/325M         4,600        SpecGx LLC              Order in excess of 4,000 dosage units, and appeared to be consumed quickly                                                                                  10,700                                    Footnotes 21-25
                    WHSE #45                               CLEVELAND, OH, 44109                                                                                                                                                                                                                                                 conducted by Wal-Mart with respect to this order.
               WAL-MART PHARMACY              WAL-MART PHARMACY 10-2073, 10000 BROOKPARK RD,                                                                                                                                                                                                                                    Plaintiffs have been unable to identify any due diligence
     6                                                                                                              9143        406051201       9/17/07   OXYCODONE HCL/ACETAMINOPHEN 5MG/325M         4,200        SpecGx LLC                      Order of 4,200 was significantly higher than other daily orders                                                                                     8,500                                     Footnotes 26-30
                    WHSE #45                               BROOKLYN, OH, 44130                                                                                                                                                                                                                                                  conducted by Wal-Mart with respect to this order.
               WAL-MART PHARMACY           WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER                                                                                                                      Amneal           Order in excess of 4,000 dosage units, and appeared to be consumed quickly. 381% of the 4 Plaintiffs have been unable to identify any due diligence
     7                                                                                                              9143       53746020301      10/3/13   OXYCODONE HCL/ACETAMINOPHEN TABS 5MG         4,000                                                                                                                                                                                            5,200                                     Footnotes 31-35
                    WHSE #45                           ROAD, SOUTH EUCLID, OH, 44121                                                                                                                           Pharmaceuticals LLC                                 Week Moving Average for Oxy 5                                conducted by Wal-Mart with respect to this order.
               WAL-MART PHARMACY             WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE,                                                                                                                                                                                                                                   Plaintiffs have been unable to identify any due diligence
     8                                                                                                              9143        406051201       5/11/09   OXYCODONE HCL/ACETAMINOPHEN 5MG/325M         4,000        SpecGx LLC              Order in excess of 4,000 dosage units, and appeared to be consumed quickly                                                                                  8,100                                     Footnotes 36-40
                    WHSE #45                               CLEVELAND, OH, 44109                                                                                                                                                                                                                                                 conducted by Wal-Mart with respect to this order.
                 WAL-MART PHCY            WAL-MART PHARMACY 10-5082, 8303 W RIDGEWOOD DR, PARMA,                                                                                                                                     Order of 2,500 was significantly higher than other daily orders. 360% of the 4 Week Moving Plaintiffs have been unable to identify any due diligence
     9                                                                                                              9193        406036001      12/31/08    HYDROCODO.BIT/APAP 7.5MG/750MG USP T        2,500        SpecGx LLC                                                                                                                                                                          10,300                                    Footnotes 41-45
                WAREHOUSE #46                                    OH, 44129                                                                                                                                                                                              Average for Hydro 7.5                                   conducted by Wal-Mart with respect to this order.
                 WAL-MART PHCY             WAL-MART PHARMACY 10-1911, 2887 S. ARLINGTON ST, AKRON                                                                                                                                      Weekly Order of 7,400 was significantly higher than other daily orders. 1,138% of the 4 Plaintiffs have been unable to identify any due diligence
     10                                                                                                             9193        406035705       2/2/09    HYDROCODONE BIT/ACETAMINOPHEN 5MG/50         3,500        SpecGx LLC                                                                                                                                                                          10,000                                    Footnotes 46-50
                WAREHOUSE #46                                  (S), OH, 44312                                                                                                                                                                                     Week Moving Average for Hydro 5                               conducted by Wal-Mart with respect to this order.


1. The Wal-Mart national average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 3740 dosage units. Wal-Mart's monthly shipments to BW9904005/WAL-MART PHARMACY 10-3326, 5638 TRANSPORTATION BLVD., GARFIELD HIEGHTS, OH, 44125 for OXYCODONE (9143) were approximately 233% of the national average the prior month.

2. The Wal-Mart Ohio average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 6061 dosage units. Wal-Mart's monthly shipments to BW9904005/WAL-MART PHARMACY 10-3326, 5638 TRANSPORTATION BLVD., GARFIELD HIEGHTS, OH, 44125 for OXYCODONE (9143) were approximately 144% of the Ohio average the prior month.

3. The Wal-Mart CUYAHOGA County average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 4088 dosage units. Wal-Mart's monthly shipments to BW9904005/WAL-MART PHARMACY 10-3326, 5638 TRANSPORTATION BLVD., GARFIELD HIEGHTS, OH, 44125 for OXYCODONE (9143) were approximately 213% of the CUYAHOGA County average the prior month.

4. Wal-Mart's average monthly distribution to BW9904005/WAL-MART PHARMACY 10-3326, 5638 TRANSPORTATION BLVD., GARFIELD HIEGHTS, OH, 44125 for OXYCODONE (9143) from January 1, 2006, up to the month prior to the month of this shipment, was 2183 dosage units. Wal-Mart's monthly shipments of OXYCODONE (9143) were approximately 398% of the average for BW9904005/WAL-MART PHARMACY 10-3326, 5638 TRANSPORTATION BLVD., GARFIELD HIEGHTS, OH, 44125.
5. Wal-Mart's average distribution to BW9904005/WAL-MART PHARMACY 10-3326, 5638 TRANSPORTATION BLVD., GARFIELD HIEGHTS, OH, 44125 for OXYCODONE 5 (9143) for the 4 weeks prior to the identified suspicious order was 800 dosage units. Wal-Mart's total shipments of OXYCODONE 5 (9143) for the week identified were approximately 687.5% of the 4 week moving average for BW9904005/WAL-MART PHARMACY 10-3326, 5638 TRANSPORTATION BLVD., GARFIELD HIEGHTS, OH, 44125
for this drug and dosage strength.

6. The Wal-Mart national average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 3957 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 321% of the national average the prior month.

7. The Wal-Mart Ohio average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 7185 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 177% of the Ohio average the prior month.

8. The Wal-Mart CUYAHOGA County average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 6044 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 210% of the CUYAHOGA County average the prior month.

9. Wal-Mart's average monthly distribution to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) from January 1, 2006, up to the month prior to the month of this shipment, was 7961 dosage units. Wal-Mart's monthly shipments of OXYCODONE (9143) were approximately 160% of the average for FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109.

10. Wal-Mart's average distribution to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE 5 (9143) for the 4 weeks prior to the identified suspicious order was 2975 dosage units. Wal-Mart's total shipments of OXYCODONE 5 (9143) for the week identified were approximately 171.428571428571% of the 4 week moving average for FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for this drug and
dosage strength.

11. The Wal-Mart national average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 3936 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 346% of the national average the prior month.

12. The Wal-Mart Ohio average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 5717 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 238% of the Ohio average the prior month.

13. The Wal-Mart CUYAHOGA County average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 5244 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 259% of the CUYAHOGA County average the prior month.

14. Wal-Mart's average monthly distribution to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) from January 1, 2006, up to the month prior to the month of this shipment, was 7242 dosage units. Wal-Mart's monthly shipments of OXYCODONE (9143) were approximately 188% of the average for FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109.
15. Wal-Mart's average distribution to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE 5 (9143) for the 4 weeks prior to the identified suspicious order was 2575 dosage units. Wal-Mart's total shipments of OXYCODONE 5 (9143) for the week identified were approximately 194.174757281553% of the 4 week moving average for FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for this drug and
dosage strength.

16. The Wal-Mart national average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 4078 dosage units. Wal-Mart's monthly shipments to BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121 for OXYCODONE (9143) were approximately 204% of the national average the prior month.

17. The Wal-Mart Ohio average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 5874 dosage units. Wal-Mart's monthly shipments to BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121 for OXYCODONE (9143) were approximately 141% of the Ohio average the prior month.

18. The Wal-Mart CUYAHOGA County average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 4478 dosage units. Wal-Mart's monthly shipments to BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121 for OXYCODONE (9143) were approximately 185% of the CUYAHOGA County average the prior month.

19. Wal-Mart's average monthly distribution to BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121 for OXYCODONE (9143) from January 1, 2006, up to the month prior to the month of this shipment, was 3839 dosage units. Wal-Mart's monthly shipments of OXYCODONE (9143) were approximately 216% of the average for BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121.

20. Wal-Mart's average distribution to BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121 for OXYCODONE 5 (9143) for the 5 weeks prior to the identified suspicious order was 1450 dosage units. Wal-Mart's total shipments of OXYCODONE 5 (9143) for the week identified were approximately 324.137931034483% of the 5 week moving average for BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH
EUCLID, OH, 44121 for this drug and dosage strength.

21. The Wal-Mart national average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 4078 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 265% of the national average the prior month.

22. The Wal-Mart Ohio average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 5874 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 184% of the Ohio average the prior month.

23. The Wal-Mart CUYAHOGA County average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 4478 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 241% of the CUYAHOGA County average the prior month.

24. Wal-Mart's average monthly distribution to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) from January 1, 2006, up to the month prior to the month of this shipment, was 8616 dosage units. Wal-Mart's monthly shipments of OXYCODONE (9143) were approximately 125% of the average for FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109.

25. Wal-Mart's average distribution to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE 5 (9143) for the 5 weeks prior to the identified suspicious order was 1750 dosage units. Wal-Mart's total shipments of OXYCODONE 5 (9143) for the week identified were approximately 274.285714285714% of the 5 week moving average for FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for this drug and
dosage strength.

26. The Wal-Mart national average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 4062 dosage units. Wal-Mart's monthly shipments to BW5397573/WAL-MART PHARMACY 10-2073, 10000 BROOKPARK RD, BROOKLYN, OH, 44130 for OXYCODONE (9143) were approximately 209% of the national average the prior month.

27. The Wal-Mart Ohio average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 5806 dosage units. Wal-Mart's monthly shipments to BW5397573/WAL-MART PHARMACY 10-2073, 10000 BROOKPARK RD, BROOKLYN, OH, 44130 for OXYCODONE (9143) were approximately 146% of the Ohio average the prior month.

28. The Wal-Mart CUYAHOGA County average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 4575 dosage units. Wal-Mart's monthly shipments to BW5397573/WAL-MART PHARMACY 10-2073, 10000 BROOKPARK RD, BROOKLYN, OH, 44130 for OXYCODONE (9143) were approximately 186% of the CUYAHOGA County average the prior month.

29. Wal-Mart's average monthly distribution to BW5397573/WAL-MART PHARMACY 10-2073, 10000 BROOKPARK RD, BROOKLYN, OH, 44130 for OXYCODONE (9143) from January 1, 2006, up to the month prior to the month of this shipment, was 6720 dosage units. Wal-Mart's monthly shipments of OXYCODONE (9143) were approximately 126% of the average for BW5397573/WAL-MART PHARMACY 10-2073, 10000 BROOKPARK RD, BROOKLYN, OH, 44130.

30. Wal-Mart's average distribution to BW5397573/WAL-MART PHARMACY 10-2073, 10000 BROOKPARK RD, BROOKLYN, OH, 44130 for OXYCODONE 5 (9143) for the 4 weeks prior to the identified suspicious order was 1500 dosage units. Wal-Mart's total shipments of OXYCODONE 5 (9143) for the week identified were approximately 280% of the 4 week moving average for BW5397573/WAL-MART PHARMACY 10-2073, 10000 BROOKPARK RD, BROOKLYN, OH, 44130 for this drug and dosage strength.

31. The Wal-Mart national average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 4591 dosage units. Wal-Mart's monthly shipments to BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121 for OXYCODONE (9143) were approximately 113% of the national average the prior month.

32. The Wal-Mart Ohio average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 6608 dosage units. Wal-Mart's monthly shipments to BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121 for OXYCODONE (9143) were approximately 79% of the Ohio average the prior month.

33. The Wal-Mart CUYAHOGA County average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 4889 dosage units. Wal-Mart's monthly shipments to BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121 for OXYCODONE (9143) were approximately 106% of the CUYAHOGA County average the prior month.


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34. Wal-Mart's average monthly distribution to BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121 for OXYCODONE (9143) from January 1, 2006, up to the month prior to the month of this shipment, was 4022 dosage units. Wal-Mart's monthly shipments of OXYCODONE (9143) were approximately 129% of the average for BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121.

35. Wal-Mart's average distribution to BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH EUCLID, OH, 44121 for OXYCODONE 5 (9143) for the 4 weeks prior to the identified suspicious order was 1075 dosage units. Wal-Mart's total shipments of OXYCODONE 5 (9143) for the week identified were approximately 381.395348837209% of the 4 week moving average for BW6164949/WAL-MART PHARMACY 10-2362, 1868 WARRENSVILLE CENTER ROAD, SOUTH
EUCLID, OH, 44121 for this drug and dosage strength.

36. The Wal-Mart national average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 4056 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 200% of the national average the prior month.

37. The Wal-Mart Ohio average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 5166 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 157% of the Ohio average the prior month.

38. The Wal-Mart CUYAHOGA County average for monthly distribution per pharmacy for OXYCODONE (9143) for the month prior to the month of this shipment was 3422 dosage units. Wal-Mart's monthly shipments to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) were approximately 237% of the CUYAHOGA County average the prior month.

39. Wal-Mart's average monthly distribution to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE (9143) from January 1, 2006, up to the month prior to the month of this shipment, was 5732 dosage units. Wal-Mart's monthly shipments of OXYCODONE (9143) were approximately 141% of the average for FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109.
40. Wal-Mart's average distribution to FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for OXYCODONE 5 (9143) for the 5 weeks prior to the identified suspicious order was 2075 dosage units. Wal-Mart's total shipments of OXYCODONE 5 (9143) for the week identified were approximately 192.771084337349% of the 5 week moving average for FW0545547/WAL-MART PHARMACY 10-4285, 3400 STEELYARD DRIVE, CLEVELAND, OH, 44109 for this drug and
dosage strength.

41. The Wal-Mart national average for monthly distribution per pharmacy for HYDROCODONE (9193) for the month prior to the month of this shipment was 10001 dosage units. Wal-Mart's monthly shipments to BW8604820/WAL-MART PHARMACY 10-5082, 8303 W RIDGEWOOD DR, PARMA, OH, 44129 for HYDROCODONE (9193) were approximately 103% of the national average the prior month.

42. The Wal-Mart Ohio average for monthly distribution per pharmacy for HYDROCODONE (9193) for the month prior to the month of this shipment was 7951 dosage units. Wal-Mart's monthly shipments to BW8604820/WAL-MART PHARMACY 10-5082, 8303 W RIDGEWOOD DR, PARMA, OH, 44129 for HYDROCODONE (9193) were approximately 130% of the Ohio average the prior month.

43. The Wal-Mart CUYAHOGA County average for monthly distribution per pharmacy for HYDROCODONE (9193) for the month prior to the month of this shipment was 4611 dosage units. Wal-Mart's monthly shipments to BW8604820/WAL-MART PHARMACY 10-5082, 8303 W RIDGEWOOD DR, PARMA, OH, 44129 for HYDROCODONE (9193) were approximately 223% of the CUYAHOGA County average the prior month.

44. Wal-Mart's average monthly distribution to BW8604820/WAL-MART PHARMACY 10-5082, 8303 W RIDGEWOOD DR, PARMA, OH, 44129 for HYDROCODONE (9193) from January 1, 2006, up to the month prior to the month of this shipment, was 5217 dosage units. Wal-Mart's monthly shipments of HYDROCODONE (9193) were approximately 197% of the average for BW8604820/WAL-MART PHARMACY 10-5082, 8303 W RIDGEWOOD DR, PARMA, OH, 44129.
45. Wal-Mart's average distribution to BW8604820/WAL-MART PHARMACY 10-5082, 8303 W RIDGEWOOD DR, PARMA, OH, 44129 for HYDROCODONE 7.5 (9193) for the 4 weeks prior to the identified suspicious order was 750 dosage units. Wal-Mart's total shipments of HYDROCODONE 7.5 (9193) for the week identified were approximately 360% of the 4 week moving average for BW8604820/WAL-MART PHARMACY 10-5082, 8303 W RIDGEWOOD DR, PARMA, OH, 44129 for this drug and dosage
strength.

46. The Wal-Mart national average for monthly distribution per pharmacy for HYDROCODONE (9193) for the month prior to the month of this shipment was 7724 dosage units. Wal-Mart's monthly shipments to BW5397410/WAL-MART PHARMACY 10-1911, 2887 S. ARLINGTON ST, AKRON (S), OH, 44312 for HYDROCODONE (9193) were approximately 164% of the national average the prior month.

47. The Wal-Mart Ohio average for monthly distribution per pharmacy for HYDROCODONE (9193) for the month prior to the month of this shipment was 5351 dosage units. Wal-Mart's monthly shipments to BW5397410/WAL-MART PHARMACY 10-1911, 2887 S. ARLINGTON ST, AKRON (S), OH, 44312 for HYDROCODONE (9193) were approximately 237% of the Ohio average the prior month.

48. The Wal-Mart SUMMIT County average for monthly distribution per pharmacy for HYDROCODONE (9193) for the month prior to the month of this shipment was 3983 dosage units. Wal-Mart's monthly shipments to BW5397410/WAL-MART PHARMACY 10-1911, 2887 S. ARLINGTON ST, AKRON (S), OH, 44312 for HYDROCODONE (9193) were approximately 319% of the SUMMIT County average the prior month.

49. Wal-Mart's average monthly distribution to BW5397410/WAL-MART PHARMACY 10-1911, 2887 S. ARLINGTON ST, AKRON (S), OH, 44312 for HYDROCODONE (9193) from January 1, 2006, up to the month prior to the month of this shipment, was 9286 dosage units. Wal-Mart's monthly shipments of HYDROCODONE (9193) were approximately 137% of the average for BW5397410/WAL-MART PHARMACY 10-1911, 2887 S. ARLINGTON ST, AKRON (S), OH, 44312.

50. Wal-Mart's average distribution to BW5397410/WAL-MART PHARMACY 10-1911, 2887 S. ARLINGTON ST, AKRON (S), OH, 44312 for HYDROCODONE 5 (9193) for the 4 weeks prior to the identified suspicious order was 650 dosage units. Wal-Mart's total shipments of HYDROCODONE 5 (9193) for the week identified were approximately 1138.46153846154% of the 4 week moving average for BW5397410/WAL-MART PHARMACY 10-1911, 2887 S. ARLINGTON ST, AKRON (S), OH, 44312 for this drug
and dosage strength.




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          I.     Henry Schein
    Background
            Henry Schein, Inc., (“Henry Schein”) like the other Distributor Defendants in this case, is
    a registered wholesale distributor of controlled substances. However, unlike the other Distributor
    Defendants, Henry Schein is unique in that it is the “largest distributor of healthcare products and
    services to office-based practitioners in the combined North American and European markets”
    whose customers include “dental practices . . . physician practices, and animal health clinics.”1
           In 2015, Henry Schein reported that its sales reached a record $10.4 billion and that it had
    grown at a compound annual rate of approximately 16 percent since becoming a public company
    in 1995. Overall, it is the world’s largest provider of health care products and services to office-
    based dental, animal health, and medical practitioners.
          II.    Orders Plaintiff Summit County Contends Were Suspicious:
        Plaintiff Summit County identifies the following 14 orders that Henry Schein shipped to Dr.
    Brian Heim (“Heim”) as orders that Henry Schein knew or should have known were Suspicious
    Orders:
                                                                             NAME     LOCATION
                                                                               OF          OF
                                                                            PERSON     PERSON
                                             MANUFAC-                       SHIPPED SHIPPED
           DATE         MEDICATION             TURER            AMOUNT         TO          TO
1        8/17/2011     Hydrocodone/         Unknown             1 bottle – Dr. Brian 3562 Ridge
                       Apap Tablets                             500 tablets Heim      Park Drive,
                                                                                      Ste. A,
                                                                                      Akron, OH
2        9/19/2011     Hydrocodone/         Unknown             1 bottle – Dr. Brian 3562 Ridge
                       Apap Tablets                             500 tablets Heim      Park Drive,
                                                                                      Ste. A,
                                                                                      Akron, OH
3        10/10/2011 Hydrocodone/            Unknown             1 bottle - Dr. Brian 3562 Ridge
                    Apap Tablets                                500 tablets Heim      Park Drive,
                                                                                      Ste. A,
                                                                                      Akron, OH
4        10/24/2011 Hydrocodone/            Unknown             1 bottle – Dr. Brian 3562 Ridge
                    Apap Tablets                                500 tablets Heim      Park Drive,
                                                                                      Ste. A,
                                                                                      Akron, OH
5        11/11/2011 Hydrocodone/            Unknown             2 bottles - Dr. Brian 3562 Ridge
                    Apap Tablets                                1000        Heim      Park Drive,
                                                                tablets               Ste. A,
                                                                                      Akron, OH




    1   See, HSI-MDL-00040712.




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                                                                          NAME     LOCATION
                                                                            OF          OF
                                                                         PERSON     PERSON
                                            MANUFAC-                     SHIPPED SHIPPED
        DATE      MEDICATION                  TURER          AMOUNT         TO          TO
6     12/05/2011 Hydrocodone/              Unknown           2 bottles – Dr. Brian 3562 Ridge
                 Apap Tablets                                1000        Heim      Park Drive,
                                                             tablets               Ste. A,
                                                                                   Akron, OH
7     01/10/2012 Hydrocodone/              Unknown           2 bottles – Dr. Brian 3562 Ridge
                 Apap Tablets                                1000        Heim      Park Drive,
                                                             tablets               Ste. A,
                                                                                   Akron, OH
8     02/06/2012 Hydrocodone/              Unknown           2 bottles – Dr. Brian 3562 Ridge
                 Apap Tablets                                1000        Heim      Park Drive,
                                                             tablets               Ste. A,
                                                                                   Akron, OH
9     02/29/2012 Hydrocodone/              Unknown           2 bottles – Dr. Brian 3562 Ridge
                 Apap Tablets                                1000        Heim      Park Drive,
                                                             tablets               Ste. A,
                                                                                   Akron, OH
10 02/29/2012 Hydrocodone/                 Unknown           2 bottles – Dr. Brian 3562 Ridge
              Apap Tablets                                   1000        Heim      Park Drive,
                                                             tablets               Ste. A,
                                                                                   Akron, OH
11 03/14/2012 Hydrocodone                  Unknown           1 bottle – Dr. Brian 3562 Ridge
              w/Apap Tablet                                  500 tablets Heim      Park Drive,
                                                                                   Ste. A,
                                                                                   Akron, OH
12 04/24/2012 Hydrocodone                  Unknown           2 bottles – Dr. Brian 3562 Ridge
              w/Apap Tablet                                  1000        Heim      Park Drive,
                                                             tablets               Ste. A,
                                                                                   Akron, OH
13 05/21/2012 Hydrocodone                  Unknown           2 bottles – Dr. Brian 3562 Ridge
              w/Apap Tablet                                  1000        Heim      Park Drive,
                                                             tablets               Ste. A,
                                                                                   Akron, OH
14 06/05/2012 Hydrocodone                  Unknown           2 bottles – Dr. Brian 3562 Ridge
              w/Apap Tablet                                  1000        Heim      Park Drive,
                                                             tablets               Ste. A,
                                                                                   Akron, OH
       III.      Criteria Plaintiff Used to Identify the Above Orders As Suspicious
              A. Henry Schein had a Duty to Identify When an Order is Likely to Be Diverted by
                 Performing the Due Diligence Required of all Distributors.
         The Controlled Substances Act (“CSA”) and its implementing regulations, as well as Ohio
    common law require distributors of controlled substances to register with the Drug Enforcement




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 Administration (“DEA”). As registrants, distributors play a vital role in preventing diversion and
 therefore have a duty to perform due diligence prior to their distribution of controlled substances.
 For example, pursuant to the CSA, distributors have a duty to report suspicious orders of controlled
 substances. An order is suspicious when it is likely to be diverted or has the potential for diversion
 from legitimate channels. Title 21 CFR 1301.74(b), specifically requires that a registrant “design
 and operate a system to disclose to the registrant suspicious orders of controlled substances.”
 Registrants must conduct an independent analysis of suspicious orders prior to completing a sale
 to determine whether the controlled substances are likely to be diverted from legitimate channels.
 Moreover, “[r]egistrants that fill these orders (potential suspicious orders), without first
 determining that the order is not being diverted into other than legitimate medical, scientific, and
 industrial channels, may be failing to maintain effective controls against diversion. Failure to
 maintain effective controls against diversion is inconsistent with the public interest as that term is
 used in 21 USC 823 and 824, and may result in the revocation of the registrant’s DEA Certificate
 or Registration.”2
         In order to prevent diversion, distributors must have specific due diligence requirements
 and must “Know Their Customer” prior to shipping controlled substances to a particular client. In
 April 2011, the DEA further outlined the “Know Your Customer” requirements for distributors by
 expressly outlining the kinds of questions a distributor should ask customers seeking to purchase
 controlled substances.3 For practitioner customers – which make up the majority of Henry
 Schein’s customer base – the DEA specifically identified the following questions:
         • What is the practitioner’s specialty, if any (family practice, oncology, geriatrics, pain
         management, etc.)?
         • Do the controlled substances being ordered correspond to his specialty or the treatment
         he provides?
         • What method of payment does the practitioner accept (cash, insurance, Medicare) and
         what is the ratio of each?
         • Has the practitioner ever been disciplined by any state or federal authority?
         • How many patients does the practitioner see each day? What is his weekly average?
         • Does the practitioner prescribe as well as dispense?
         • Why does the practitioner prefer to dispense as opposed to prescribe?
         • Who was the practitioner’s previous supplier? Are they still ordering from this supplier?
         If not, why are they looking for a new supplier?
         • Do the hours of operation and the facility accommodate the type of practice being
         conducted?
         • Does the practitioner’s office have security guards on-site? If so, why?
         • Are all applicable state, federal, local licenses current and are they issued for the
         registered address at which the practitioner is practicing?



 2Id.
 3DEA, “Suggested Questions a Distributor should ask prior to shipping controlled substances,” available at
 https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf (April 2011).




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         • Does the practitioner see out of state patients? If so,
             o From what states,
             o How many,
             o Approximate ratio of out of state compared to local, and
             o Why, specifically, they travel so far to see him?
         • Can the practitioner provide a blank copy of an agreement which they enter into with a
         patient, specifying the course of treatment, the patient rights and responsibilities, and
         reasons for termination of treatment?
         • Does the practitioner conduct random unannounced drug testing?
         • What measures does the practitioner employ and/or monitor to prevent addiction and
         diversion of controlled substances?
         • Are there more than one practitioner dispensing controlled substances from the registered
         location?
         • Do you order for just yourself or for the whole clinic?
         • What controlled substances are you currently dispensing? (If only one or two controlled
         substances are being ordered, have the practitioner fully explain why he administers or
         dispenses only these specific controlled substances).
         • In what dosage levels is the practitioner dispensing (2 tablets, 4 times a day, for 30 days,
         or 90, 120, 240 a week, month).
         • Does the practitioner prescribe as well as dispense to his patients?
         • Does the practitioner prescribe the same controlled substances as were dispensed to the
         patient?
         • How many patients is the practitioner presently treating (day, week, and month)?
         B. Henry Schein Failed to Exercise Due Diligence in its Evaluation of Dr. Brian Heim as
            a Customer.
        Notwithstanding its obligations and the DEA’s express guidance, Henry Schein failed to
 exercise sufficient due diligence before shipping the orders noted above. To the contrary,
 documents produced by Henry Schein show that, prior to shipping controlled substances to Heim,
 Henry Schein merely confirmed that Heim’s licensure was in active status and sent Heim a one-
 page questionnaire on August 17, 2011.4


 C. Heim’s Orders Were So Suspicious that Henry Schein Knew or Should Have Known that they
 were being Diverted
         Had Henry Schein performed any of the due diligence it was required to perform by law,
 it would have readily identified orders placed by Brian Heim as being suspicious. For example,
 Henry Schein never made any inquiry about Heim’s prior criminal charges or disciplinary actions.
 Yet, a simple verification of Heim’s Ohio medical license would have shown that in 1998, Heim

 4 See, HSI-MDL-00001198-1210. On August 23, 2012 – after it had already been providing Brian Heim with
 controlled substances for nearly a year – Henry Schein sent Brian Heim an additional two-page questionnaire.




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 entered a guilty plea to twenty-four felony counts of theft of drugs and twenty-one felony counts
 of illegal processing of drug documents.5 As a result, Heim’s medical license was revoked. He
 was offered treatment in lieu of conviction. Heim’s medical license was not reinstated until later
 with restrictions, and he was placed on probation until January of 2005.
         On May 18, 2012, Heim was indicted in the Court of Common Pleas, County of Summit,
 Ohio, for seven counts of aggravated trafficking in drugs and one count of tampering with
 evidence. He was arraigned on those charges on June 6, 2012.6 Significantly, Henry Schein
 actually shipped controlled substances to Heim on at least two occasions after he had been indicted
 in Ohio state court with trafficking in drugs and tampering with evidence.7
         In addition to failing to ask about Heim’s prior disciplinary and criminal record, Henry
 Schein also failed to ask other fundamental questions that would have alerted Henry Schein to the
 likelihood of diversion. For example, Henry Schein did not ask Heim about the percentage of
 controlled substances that Dr. Heim’s patients purchased with cash versus other methods (although
 it did ask the question in general). The red flags relating to Heim’s purchase of controlled
 substances were so clear that, in as early as 2008, a patient calling Purdue Pharma referenced
 Heim’s suspicious practices and noted his prior disciplinary record.8 From January 2010 through
 December 2011, Heim was actually listed as the 11th top prescriber of Oxycodone/APAP in the
 W103 – Akron, OH Territory.9 Despite this, Henry Schein’s due diligence file for Brian Heim
 does not reflect a single site visit to Heim’s office.
         Finally, filings in the action to recover civil penalties from Heim for his violations of
 federal drug laws note that the volume of Heim’s purchases was so suspicious that in July 2012, a
 DEA Diversion Investigator reviewing ARCOS data noted that Heim was “purchasing
 extraordinarily large amounts of hydrocodone/APAP tablets from the pharmaceutical wholesaler
 Henry Schein” and obtained an administrative warrant to inspect Heim’s records because of this.10
        Yet, even though Henry Schein suspended Heim’s orders on two occasions, it never
 reported any of Heim’s orders as suspicious to the DEA. In fact, even on the two occasions when
 Henry Schein held an order placed by Heim, Schein’s records indicate that it nevertheless shipped
 an order to Heim on the following day.
         In sum, given Heim’s past criminal and disciplinary history, his reputation in the
 community, his current criminal charges, and his excessive orders of controlled substances, the
 orders referenced above were so suspicious that there was no amount of due diligence that Henry
 Schein could have performed so as to remove every basis of suspicion that Heim was engaged in
 diversion.    The above is a clear example of Henry Schein’s failure in due diligence for
 “onboarding” new customers.




 5 Such a verification can be easily performed through https://elicense.ohio.gov/oh_verifylicense.
 6 See, United States v. Brian D. Heim, M.D., Case No 5:13-cv-210, Memorandum Opinion and Order of January 22,
 2014 (District Judge Sara Lioi), at 4 (“Judge Lioi Order”); also see, May 8, 2013 Letter with Attachments to Dr. Brian
 Heim from the State Medical Board of Ohio, at Exhibit 1.
 7 See, Order No. 13 (05/21/2012) and Order No. 14 (06/05/2012) identified above.
 8 See, PPLPMDL0030005508 (April 17, 2008 email from Purdue’s Nancy Crudele, Senior Manager of Medical

 Services, to Purdue’s Joan Zooper, Corporate Counsel, summarizing a patient call regarding Dr. Brian Heim).
 9 See, ACTAVIS0925276.
 10 See, Judge Lioi Order, at 5.




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 *Labeler information was derived using the National Drug Code Number assigned to the product under
 the National Drug Code System of the Food and Drug Administration code for each drug and cross
 referencing against the Food and Drug Administration, National Drug Code Directory and list of
 NDC/NHRIC Labeler Codes. A list of NDC/NHRIC Labeler Codes is available at:
 https://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/ucm191017.htm. Food
 and Drug Administration, National Drug Code Directory available at:
 https://www.deadiversion.usdoj.gov/arcos/ndc/ndcfile.txt
 https://www.deadiversion.usdoj.gov/arcos/ndc/readme.txt Additionally, the ARCOS Registrant
 Handbook provides the following definitions relating to labeler: A packer/repacker is a registrant that
 packs a product into a container (i.e., packer) or repacks a product into different size containers, such as
 changing a package of 50 capsules to 5 packages of 10 capsules each. A labeler/relabeler is a registrant
 that affixes the original label to a product (i.e., labeler) or changes in any way the labeling on a product
 without affecting the product or its container (i.e, relabeler). The “relabel” term implies that the
 package size remains unchanged with changes being made only in brand name, NDC number,
 distributor, etc. Registrant Handbook at 6-2, available at:
 https://www.deadiversion.usdoj.gov/arcos/handbook/full.pdf#search=arcos%20handbook.
